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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK




                                         Case No. 1:15-cv-09936 (LGS)

RAMON MORENO, et al.,
Plaintiffs,


v.


DEUTSCHE BANK AMERICAS HOLDING
CORP, et al.,
Defendants.




            REVISED DECLARATION OF WALTER TOROUS, PH.D.


                                July 2, 2018
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I.     Introduction

       A.      Qualifications

1.     I, Walter Torous, am a Senior Lecturer at the Massachusetts Institute of Technology with

a joint position at the Sloan School of Management and Center for Real Estate. I am also a

Professor of Finance Emeritus and the former Lee and Seymour Graff Endowed Professor at the

John E. Anderson School of Management at the University of California at Los Angeles. I received

my Ph.D. degree in economics from the University of Pennsylvania in 1981. My areas of research

include fixed income securities, equities, and derivative instruments as well as real estate markets,

the behavior of stock prices, corporate governance, and financial distress. I have taught courses

in managerial finance, investments, and real estate finance at the master’s level and empirical

methods in finance at the doctoral level. I am currently, or have been, the editor or associate editor

of a number of finance and real estate finance journals.


2.     I have published peer-reviewed articles on the pricing of a variety of financial instruments

including equities, options, futures, corporate debt, and mortgage related securities. I have spoken

at numerous academic and business conferences about my research. Throughout my career, I have

relied on concepts and tools from the field of economics. Those concepts and tools are directly

relevant for evaluating financial investments in any context, including issues related to the fees

and performance of mutual funds.


3.     My complete curriculum vitae, which includes a list of my publications, is attached as

Appendix A to this declaration. Appendix B lists my testimony in the past four years.




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           B.       Summary of Plaintiffs’ Allegations

4.         Ramon Moreno and other Named Plaintiffs (collectively, the “Plaintiffs”) on behalf of the

Deutsche Bank Matched Savings Plan (the “Plan”) allege that the Defendants—Deutsche Bank

Americas Holdings Corp. (“Deutsche Bank” or “DBAHC”), Deutsche Bank Matched Savings Plan

Investment Committee (“Investment Committee”), Deutsche Bank Americas Holdings Corp.

Executive Committee, Richard O’Connell, John Arvanitis, Robert Dibble, Tim Dowling, Richard

Ferguson, James Gnall, Louis Jaffe, Patrick McKenna, David Pearson, Joseph Rice, Scott Simon,

Andrew Threadgold, and James Volkwein (collectively referred to as “Defendants”)—breached

their fiduciary duties under the Employment Retirement Income Security Act (“ERISA”).1

Specifically, Plaintiffs allege that Defendants:

       Used the Plan to “promote the business interests of Deutsche Bank” at the expense of the
        participants by failing to remove and/or not timely removing proprietary mutual funds from
        the Plan’s investment lineup;2
       Ignored underperformance of the Deutsche Bank proprietary mutual funds, including the
        Deutsche Large Cap Value Fund;3
       Failed to timely remove three Deutsche Bank-affiliated passively managed funds (also
        referred to as index funds) (“Proprietary Index Funds”) and replace them with lower-cost
        alternatives;4 and




1
 Throughout this declaration, I define certain technical or financial industry terms when they first appear.
Furthermore, I collected these terms in a glossary attached as Appendix C of this declaration.
2
 Ramon Moreno et al. v. Deutsche Bank et al., Third Amended Class Action Complaint, August 25, 2017 (the
“Complaint”), ¶¶ 3-5. Proprietary mutual funds in this case refer to the mutual funds managed by affiliates of the
Defendants that are offered in the Plan.
3
    Complaint, ¶¶ 3-5.
4
  Complaint, ¶¶ 71-80. The three Proprietary Index Funds that were included in the Plan as of the end of 2009 were
the DWS EAFE Equity Index Fund, the DWS Equity 500 Index Fund, and the DWS U.S. Bond Index Fund. A
passively managed (or index) fund is a fund that typically purchases all or a representative sample of a given index
in order to track the performance of that index. In contrast, managers of actively managed funds often undertake
significant research about specific stocks, bonds, market sectors or geographic locations in order to attempt to
enhance fund returns or characteristics. This approach enables active fund managers to offer investors the
opportunity to earn returns that may exceed the return and/or reduce risk, relative to that of a market index.



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       Failed to utilize separate accounts or collective investment trusts to reduce fees paid by
        participants.5

5.         To evaluate the above misconduct, Plaintiffs’ expert, Dr. Steve Pomerantz,6 proposes two

performance-based models to evaluate the seven actively managed proprietary mutual funds

(collectively, the “Actively Managed Proprietary Funds”) offered in the Plan as of December 2009

(the beginning of the Class Period described herein).7                  In this performance-based analysis,

Dr. Pomerantz’s Model 1 compares each of the Actively Managed Proprietary Funds “to a

comparable Vanguard index fund, or a benchmark index where no comparable index fund is

available.”8 His Model 2 purports to evaluate the performance of each of the Actively Managed

Proprietary Funds against the performance of “the most popular, widely-used mutual fund by

fiduciaries of plans with over $250 million in assets as of the end of 2009.”9 Under both models,

Dr. Pomerantz purports to compare the performance of the Actively Managed Proprietary Funds



5
  Complaint, ¶ 7. A collective investment trust (“CIT”) is a pooled investment vehicle that is not registered with the
U.S. Securities and Exchange Commission. A CIT is maintained by a bank or a trust, and combines assets across a
number of institutions (e.g., retirement plans). An investment manager establishes the objectives that guide
investment decisions for a particular CIT. Also may be called a “commingled pool.” A separately managed account
(“SMA”) is an investment vehicle that is not registered with the U.S. Securities and Exchange Commission. A SMA
comprises an investment portfolio of stocks, bonds, cash, etc. following a defined strategy and managed by a money
manager. A SMA pools assets from a single investor, and is managed on behalf of that investor. The investor
dictates the investment objectives. (Vanguard Group, “Equity Mutual Funds and Separately Managed Equity
Accounts: Considerations for Taxable Investors,” July 2005, DX189.0002-DX189.0003; SEI Global Asset
Management, “Collective Investment Trust,” 2015, DX179, accessed at
https://seicdrupalcdn.azureedge.net/cdn/farfuture/38f4za7ap2-
S5w1CgUNSK_OdGZPaB2X9GgJTWl14n1c/1518213002/sites/default/files/SEI_CIT_US.pdf; BrightScope, “The
BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans 2014,” December 2016,
JX137.0071-JX137.0072.)
6
    Expert Report of Steve Pomerantz, PhD, October 5, 2017 (the “Pomerantz Report”), PX250.
7
  The seven actively managed proprietary funds that were included in the Plan as of the end of 2009 were the
Deutsche Capital Growth Fund, the Deutsche Core Fixed Income Fund, the Deutsche CROCI International Fund,
the Deutsche Global Growth Fund, the Deutsche High Income Fund, the Deutsche Large Cap Value Fund, and the
Deutsche Real Estate Securities Fund. I collectively refer to these seven funds as the “Actively Managed
Proprietary Funds.”
8
    Pomerantz Report, ¶ 83, PX250.
9
    Pomerantz Report, ¶ 90, PX250.



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to the performance of his selected comparators over the period from December 21, 2009 to

September 30, 2017 (the “Class Period”).


6.       In addition, Dr. Pomerantz purports to evaluate the expense ratios of both the proprietary

and non-proprietary mutual funds in the Plan.10 In doing so, Dr. Pomerantz performs three

comparisons. The first compares the expense ratios of both proprietary and non-proprietary mutual

funds in the Plan during the Class Period to the median expense ratios that Callan, an investment

consulting firm, reports for broad asset categories of SMAs.11 The second compares the expense

ratios of the proprietary mutual funds in the Plan during the Class Period to those of “comparable”

Vanguard mutual funds. The third compares the expense ratio of the proprietary mutual funds in

the Plan during the Class Period to the average expense ratio, reported by the Investment Company

Institute (“ICI”), of actively managed and passively managed mutual funds in the same broad asset

category as the Plan proprietary investment options paid by other 401(k) plans that are similar size

in terms of assets.




10
  A mutual fund provides its investors with an integrated bundle of services that includes portfolio management,
recordkeeping, distribution, and shareholder services. The costs of the bundle of services received are measured by
what is referred to as an expense ratio. All mutual funds make public filings with the SEC in the form of annual
reports and prospectuses. These filings report the expense ratio for each mutual fund share class and a description of
the services provided. For example, an investor who invested $1,000 in a mutual fund with an annual expense ratio
of 1.00 percent (or 100 basis points) of fund assets would pay approximately $10 in fees for the investment over the
course of the year.
11
   Pomerantz Report, ¶¶ 135-140, 146, PX250. Callan periodically sends an electronic questionnaire to a broad
sample of U.S. institutional fund sponsors and investment management organizations seeking information on
institutional investment management fees. Based on the responses Callan receives, Callan calculates and reports
statistics, including the median, on actual expense ratios paid for separately managed account products by broad
asset class as reported by the fund sponsor respondents to the questionnaire. Broad asset classes include U.S.
Equity, Non-U.S./Global Equity, Fixed Income, and Alternatives; and the reported median expense ratio of each
broad asset class reflect the reported expense ratios of both actively managed and passively managed separate
accounts. (Callan Investments Institute, “2014 Investment Management Fee Survey: U.S. Institutional Fund
Sponsors and Investment Managers,” 2014, DX177.0004, DX177.0006-DX177.0007, DX177.0010.)



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           C.       Assignment

7.         I have been engaged as an expert by Goodwin Procter (“Counsel”), counsel for Defendants.

Counsel asked me to review and, where appropriate, respond to the opinions and analyses

presented by Plaintiffs’ expert Dr. Pomerantz, including his claims regarding the alleged

imprudent inclusion of the proprietary mutual funds in the Plan and the alleged failure to utilize

SMAs or CITs. I understand that the Court has limited this trial to evidence pertaining to liability,

including the alleged breaches of fiduciary duty.12


8.         In working on this assignment, I have considered legal filings, deposition testimony, data

and documents produced in this case, and materials from the trade press and other publicly

available information. I am being compensated in this matter at a rate of $800 per hour. My

compensation is not contingent upon the content of the opinions I form or the outcome of this case.


II.        Summary of Opinions

9.         Below is a summary of the opinions I have reached based on the documents and data I have

reviewed in this litigation to date, the research I have done related to this litigation, and my prior

knowledge, education, and experience:

          Dr. Pomerantz has not demonstrated that the seven Actively Managed Proprietary Funds
           were inappropriate core investment options for the Plan during the Class Period. His
           method of comparing the performance of these funds during the Class Period to the
           performance of his chosen alternative funds suffers from numerous conceptual flaws.

           o Dr. Pomerantz puts forth two models to evaluate the performance of the Actively
             Managed Proprietary Funds over the Class Period, which he labels “Model 1” and
             “Model 2,” but fails to establish that either model represents an appropriate benchmark
             to evaluate whether the Actively Managed Proprietary Funds were imprudent
             investment options for the Plan.


12
     Ramon Moreno et al. v. Deutsche Bank et al., Order, June 1, 2018, p. 1.


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     In both models, Dr. Pomerantz assesses the Actively Managed Proprietary Funds
      relative to his chosen alternative funds based on historical performance of the funds
      over the Class Period. However, Dr. Pomerantz testified during deposition that
      “historical performance is actually irrelevant” in deciding which investment
      options to include or retain in a retirement plan. I find that Dr. Pomerantz’s own
      testimony invalidates the very analysis that he attempts to use with his Model 1 and
      Model 2 in ascertaining that the inclusion of the Actively Managed Proprietary
      Funds in the Plan during the Class Period was imprudent. (See ¶ 19.)

     Dr. Pomerantz testified that he has no opinion on whether the alternative funds he
      selected to use in his Model 1 or Model 2 are appropriate investment options for
      the Plan. He also testified that he has no opinion on whether the Actively Managed
      Proprietary Funds or his Model 2 alternative funds are prudent or imprudent. Thus,
      his models are insufficient to ascertain whether the inclusion of the Actively
      Managed Proprietary Funds in the Plan represented a breach of fiduciary duty. (See
      ¶ 20.)

     Dr. Pomerantz’s Model 1 evaluates the performance of the Actively Managed
      Proprietary Funds relative to that of Vanguard index funds. Dr. Pomerantz testified
      that the comparison to an index fund is a market-adjusted analysis of how an
      unconflicted choice would have performed. However, the prospectus benchmarks
      for six of the seven Actively Managed Proprietary Funds were different from the
      prospectus benchmarks of their Model 1 index fund comparators, and these
      prospectus benchmarks had returns over the Class Period that differed. Thus,
      Dr. Pomerantz is not performing an “apples-to-apples” comparison, and therefore,
      some of the differences in performance that Dr. Pomerantz finds in his Model 1
      comparison are the result of using an inappropriate comparator to evaluate the
      performance of the Actively Managed Proprietary Funds. (See ¶ 22.)

     Specific to his Model 2, Dr. Pomerantz testified at deposition that he does not opine
      as to the prudence or imprudence of his Model 2 options, and that those options
      represent the “collective wisdom or the collective decision-making of the DC
      community.” However, if his Model 2 alternative funds are not what a prudent
      fiduciary would have chosen, then the performance of these funds is not appropriate
      to use in evaluating whether the performance of the Actively Managed Proprietary
      Funds was consistent with the performance of a prudent option. (See ¶ 23.)

     Further, Dr. Pomerantz’s Model 2 distills the “collective wisdom” of the DC
      community to a single fund within each asset class. In reality, different fiduciaries
      choose different funds in the same asset class for their own plans. The fact that
      fiduciaries can and do select from a range of different funds in the same asset class
      is shown by Dr. Pomerantz’s own analysis where he first identifies the top five
      funds most commonly used among fiduciaries of 401(k) plans in a given
      Morningstar category before narrowing his Model 2 options down to a single fund.
      Each of the other possible funds in the same asset class has its own set of returns,
      and this range of returns represents what a plan fiduciary can expect to achieve in


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                  selecting an investment option in that asset class for its retirement plan, not the
                  individual set of returns of Dr. Pomerantz’s single comparator. (See ¶¶ 24-27.)

         o Dr. Pomerantz fails to perform a cost-benefit analysis of the Actively Managed
           Proprietary Funds, but rather bases his entire performance-based analysis on net
           returns,13 ignoring other attributes of the funds that can provide value to Plan
           participants, including the type of management and, in many instances, the risk
           characteristics associated with the funds. In so doing, Dr. Pomerantz erroneously
           assumes that the Actively Managed Proprietary Funds add no value to participants
           other than the value captured in measures of net returns. (See ¶ 30.)

        Beyond these conceptual flaws, each of Dr. Pomerantz’s models and his chosen
         benchmarks also suffer from flaws in both methodology and implementation.
         o Some of Dr. Pomerantz’s benchmarks have risk characteristics—e.g., prospectus
           benchmarks14 and asset allocations—that are different from those of their respective
           Actively Managed Proprietary Fund. Dr. Pomerantz fails to account for these
           differences in his analysis. (See ¶¶ 33-37.)

         o In suggesting alternative funds with different risk characteristics from the Actively
           Managed Proprietary Funds, Dr. Pomerantz also fails to consider participants’
           preferences for the risk characteristics of the Actively Managed Proprietary Funds as
           compared to those of Dr. Pomerantz’s chosen comparators. Dr. Pomerantz assumes,
           without any basis, that Plan participants would have accepted his comparators as
           suitable alternatives to the Actively Managed Proprietary Funds. In fact, Plan
           investment data show the contrary: that when some of Dr. Pomerantz’s alternative
           funds were added to the Plan later in the Class Period, Plan participants remained
           invested in the available Actively Managed Proprietary Funds. (See ¶ 38.)

         o When expanding the set of alternative funds against which the performance of the
           Actively Managed Proprietary Funds is evaluated beyond Dr. Pomerantz’s
           inappropriate single comparators, the performance of the Actively Managed
           Proprietary Funds was consistent with that of other mutual funds available to Plan
           fiduciaries in the marketplace. This includes the top five funds most frequently held
           by plan fiduciaries in each asset class based on Dr. Pomerantz’s own analysis, and peers
           of the Actively Managed Proprietary Funds based on [Content omitted] analysis
           conducted by Lipper. (See ¶¶ 41-49.)



13
  A gross return is the return that a portfolio or fund receives from all of its investment activities. A net return is the
return that investors received from their investments in a portfolio or fund after deducting all fees and expenses
associated with their investments.
14
   A mutual fund prospectus is a legal document that the SEC requires each fund to make available to potential
investors. Typically, the document identifies a market index (or blend of indices) that the fund puts forth to
illustrate its investment approach. The performance of this “prospectus benchmark” may then serve as a comparator
for the fund’s performance. (Downes, J., and Goodman, J.E., Dictionary of Finance and Investment Terms, Eighth
Edition, 2010, Barron's, DX173.0003-DX173.0004.)


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        Dr. Pomerantz’s comparative fee-based analysis that he uses to ascertain that the
         proprietary and non-proprietary mutual funds in the Plan exhibited excessive fees during
         the Class Period is problematic in several ways.
         o Dr. Pomerantz’s focus on fees is inappropriate because investors and fiduciaries
           evaluate fees in the context of the services provided. Therefore, an analysis of a plan’s
           investment options and related fees requires a thorough study of the services provided
           in return for the fees. However, Dr. Pomerantz has not performed such a study. (See
           ¶¶ 52-54.)

                Actively managed and passively managed funds are different investment products.
                 Dr. Pomerantz fails to control for differences in the type and level of services
                 offered across actively managed funds and passively managed funds in evaluating
                 the expense ratios of actively managed funds relative to those of passively managed
                 funds. (See ¶¶ 55-58.)

                In evaluating the expense ratios of the mutual funds in the Plan relative to those of
                 SMAs, Dr. Pomerantz fails to consider the differences in benefits offered by mutual
                 funds compared to SMAs or CITs.15 (See ¶¶ 60-67.)

         o Dr. Pomerantz’s comparison of the expense ratios of the Actively Managed Proprietary
           Funds to those of his selected Vanguard index fund comparators is inappropriate as he
           has not accounted for the fact that actively managed and passively managed funds are
           different investment products, and as such, have different cost structures. (See ¶ 59.)

         o Dr. Pomerantz’s comparison of the expense ratios of the mutual funds in the Plan to
           Callan medians of expense ratios are flawed for several reasons.

                Dr. Pomerantz claims that Plan fiduciaries failed to investigate the availability of
                 SMA and CIT vehicles as lower-cost alternatives to the existing mutual funds in
                 the Plan. However, Dr. Pomerantz testified that he has not investigated whether
                 the investment advisers of the mutual funds in the Plan offered a CIT or SMA
                 version of each mutual fund. His analysis is therefore based on a comparison of
                 the fees of a hypothetical SMA or CIT with the fees of the mutual fund in the Plan.
                 (See ¶ 69.)

                Dr. Pomerantz’s comparisons of expense ratios of the Actively Managed
                 Proprietary Funds to Callan medians, which are blended medians of actively and
                 passively managed separate accounts, are misleading because such comparisons
                 ignore the different cost structures of actively and passively managed funds (or
                 separate accounts). The inclusion of passively managed separate accounts, which
                 typically have lower expense ratios, makes it inappropriate to compare these broad
                 averages to the expense ratios of the Actively Managed Proprietary Funds. (See
                 ¶ 71.)


15
  Dr. Pomerantz testified in deposition that he considers CITs and SMAs to be the same. (Deposition of Dr. Steve
Pomerantz, December 13, 2017 (“Pomerantz Deposition”), p. 35.)


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                 The Callan categories used to control for expense ratios across asset types are
                  overly broad and do not accurately reflect the investment strategies of some of the
                  Plan investment options, which biases Dr. Pomerantz’s findings. (See ¶ 72.)

         o Dr. Pomerantz’s comparison of the expense ratios of the mutual funds in the Plan to
           ICI averages suffers the same flaws inherent in his Callan comparison, namely the
           inclusion of passively managed mutual funds in the ICI averages and the fact that ICI
           asset categories are overly broad and do not accurately reflect the investment strategies
           of some of the Plan investment options. Furthermore, the ICI average expense ratio is
           an asset-weighted average that reflects what participants in the ICI-surveyed plans
           chose to invest in, rather than solely the expense ratios of investment options that ICI-
           surveyed plan fiduciaries made available in their plan investment lineups. (See ¶ 73.)

         o Dr. Pomerantz fails to consider that the expense ratios of the proprietary mutual funds
           in the Plan were within the range of their respective Lipper peers, based on [Content
           omitted] analysis conducted by Lipper. This indicates that, contrary to Dr. Pomerantz’s
           claim, the expense ratios of these funds were not excessive. (See ¶¶ 76-79.)

        Dr. Pomerantz has not shown that the Proprietary Index Funds had excessive fees or that
         they failed to accurately track their indices. He therefore has not demonstrated that their
         inclusion in the Plan was detrimental to Plan participants. Dr. Pomerantz’s opinion that
         the Proprietary Index Funds were excessively expensive is based on his selection of and
         comparison to alternative funds that have the lowest fees. His analysis ignores that the
         expense ratios of the Proprietary Index Funds are at or near the median of expense ratios
         of their respective Lipper peers according to Lipper’s [Content omitted] analysis.
         Furthermore, Dr. Pomerantz testified during his deposition that he does not have an opinion
         about whether an index fund with a tracking error relative to the actual index is an
         imprudent choice. His opinions on “tracking error” are therefore irrelevant as they are
         unsupported and are disconnected from any claims regarding fiduciary breaches. In
         addition, each Proprietary Index Fund had tracking error that typically was at or below the
         median tracking error of other index mutual funds that track the same index as the
         Proprietary Index Funds.16 (See ¶¶ 80-82.)
        [Content omitted]




16
  Tracking error is a measure of risk that relates a mutual fund’s returns to the performance of a benchmark.
Tracking error is calculated as the standard deviation of the monthly difference between the returns of the fund and
the benchmark.



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III.     The Plan

10.      The Plan is a defined contribution 401(k) plan covering current and former employees of

Deutsche Bank and its affiliates. Deutsche Bank Americas Holdings Corp. maintains the Plan.17


11.      Exhibit 1 contains an overview of the Plan during the Class Period. As displayed in this

exhibit, total Plan assets increased from approximately $1.9 billion as of year-end 2009 to

approximately $3.0 billion as of the first quarter of 2017. Over this period, the Plan had between

20,000 and 23,000 participants, including former employees and their beneficiaries. These former

employees and their beneficiaries, who are generally eligible to roll their money out of the Plan,

accounted for approximately 48 to 50 percent of Plan participants during the Class Period.


12.      The Plan’s investment options include mutual funds, CITs, and a stable value fund, as well

as a self-directed brokerage window.18 The Plan also offers both proprietary and non-proprietary

investment options and has throughout the Class Period. As shown in Exhibit 1, the number of

investment options included in the Plan ranged from 16 to 22 during the Class Period, as the result




17
  Deutsche Bank Matched Savings Plan, Form 5500, Financial Statements and Supplemental Schedule, “Notes to
Financial Statements,” December 31, 2015 and 2014, JX122.0195 and JX121.0142. Defined contribution plans,
including 401(k) plans, are retirement plans typically provided by employers (or plan sponsors) that enable an
employee (or participant) to contribute money to an individual account that the employee (or participant) controls.
The plan sponsor may also contribute to the individual account, in some cases, by matching a certain percentage of a
participant’s contributions or making other contributions.
18
  A self-directed brokerage window offers participants in a defined contribution plan additional investment options
beyond the core investment options offered in the plan. Under the Plan, participants may invest up to 90 percent of
their assets in the self-directed brokerage window. (See, for example, Hewitt, “Deutsche Bank Matched Savings
Plan, Performance Review and Investment Manager Evaluation,” Fourth Quarter 2009, JX149.0008.) A stable value
fund is a capital preservation investment option available in some 401(k) plans and other types of savings plans.
Stable value funds are often invested in a high quality, diversified fixed income portfolio that is protected against
interest rate volatility by contracts from banks and insurance companies. Stable value funds are designed to
preserve capital while providing steady, positive returns. (Stable Value Investment Association, “Stable Value
FAQ,” DX202.0004, available at https://stablevalue.org/media/misc/Stable_Value_FAQ.pdf.)



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of additions and removals of investment options.19 Exhibit 2 lists the investment options in the

Plan and their invested assets at each year-end during the Class Period.


13.        Throughout the Class Period, new hires to Deutsche Bank and its affiliates were

automatically enrolled in the Plan, unless they actively elected not to participate. 20 Participants

who did not make active asset allocation decisions were automatically invested in the Qualified

Default Investment Alternative (“QDIA”). The QDIA for the Plan was never a proprietary fund

during the Class Period: it was the Dodge & Cox Balanced Fund from the beginning of the Class

Period until January 2014, when it was changed to the Vanguard Retirement Trust fund with the

target date closest to when the employee becomes age 65.21


14.        Exhibit 3 shows a distribution of Plan participants by the number of investment options

each of them held. These data show that participants on average invested in between two and five

investment options, with approximately 38 to 46 percent of participants holding this many

investment options throughout the Class Period. An additional 30 to 38 percent of participants

held only one option. The average number of investments held remained relatively stable

throughout the Class Period.




19
     For the purpose of this declaration, I consider target-date funds in the same series as a single investment option.
20
  Deutsche Bank Matched Savings Plan, “Summary Plan Description,” effective January 1, 2009 (“2009 SPD”),
DX139.0008; Deutsche Bank Matched Savings Plan, “Summary Plan Description,” effective January 1, 2014
(“2014 SPD”), JX195.0005.
21
   2009 SPD at DX139.0017; 2014 SPD at JX195.0009. A Qualified Default Investment Alternative (“QDIA”) is an
investment option in DC plans in which, unless the plan participant elects otherwise, the participant’s contributions
are placed by default. (U.S. Department of Labor, Employee Benefits Security Administration, “Fact Sheet: Default
Investment Alternatives Under Participant-Directed Individual Account Plans,” September 2006, DX204, accessed
at https://www.dol.gov/agencies/ebsa/about-ebsa/our-activities/resource-center/fact-sheets/default-investment-
alternatives-under-participant-directed-individual-account-plans.)



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IV.        Dr. Pomerantz Fails to Establish that the Actively Managed Proprietary Funds are
           Inappropriate Core Investment Options for the Plan

           A.          Overview of Dr. Pomerantz’s performance-based analyses

15.        Plaintiffs allege that the inclusion of the Actively Managed Proprietary Funds was

imprudent because they “had significantly higher fees than comparable funds and a track record

of poor performance.”22


16.        Dr. Pomerantz opines that Plan fiduciaries included numerous poorly performing Actively

Managed Proprietary Funds in the Plan that “a prudent and loyal fiduciary would not have

retained.”23 As part of this opinion, Dr. Pomerantz compares the net-of-fee returns of the Actively

Managed Proprietary Funds to those of alternative mutual funds that he selected based on two

methodologies (collectively, the “Pomerantz Models”).24                       Based on these two models,

Dr. Pomerantz further purports to assess performance-based damages attributable to the inclusion

of the Actively Managed Proprietary Funds.25 [Content omitted] The two models differ with

respect to the alternative funds used in the model (the “Pomerantz Benchmarks”). The Pomerantz

Benchmarks are:

          Model 1 – Vanguard Index Funds:26 The Vanguard index fund that is in the same
           Morningstar Category27 as the Actively Managed Proprietary Fund, or a benchmark index


22
     Complaint, ¶ 5.
23
     Pomerantz Report, p. 4, PX250.
24
     Pomerantz Report, p. 4, PX250.
25
     Pomerantz Report, pp. 4-5, PX250.
26
  For a discussion of how the characteristics of actively managed funds differ from passively managed (or index)
funds, see Section VI.B.1 below.
27
  A Morningstar category is assigned by Morningstar to a fund based on the underlying investments in the
fund. Morningstar places funds in a given Morningstar category based on their portfolio statistics and compositions
over the past three years. (Morningstar Investing Glossary, “Morningstar Category,” DX266, available at:
http://www.morningstar.com/invglossary/morningstar_category.aspx.)



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           less an assumed fee for one Actively Managed Proprietary Fund for which a Vanguard
           index fund in the same Morningstar Category does not exist;28 and
          Model 2 – Most Popular Funds: The fund within the same Morningstar category as
           each Actively Managed Proprietary Fund that was one of the top five most commonly
           used among fiduciaries of 401(k) plans with more than $250 million in assets as of year-
           end 2009 and had the most assets invested in the fund by plans with more than $250
           million in assets.29

17.        [Content omitted]30


18.        During his deposition, Dr. Pomerantz testified that he does not have an opinion regarding

the prudence of any of his alternative options in his Model 2.31


           B.       Dr. Pomerantz’s comparisons to alternative funds are insufficient to establish
                    that the inclusion of the Actively Managed Proprietary Funds in the Plan was
                    imprudent

19.        As described above, Dr. Pomerantz developed his Model 1 and Model 2 to support his

opinion that Plan fiduciaries “improperly gave a preference” to the Actively Managed Proprietary

Funds “over other investments that would have better served the interests of the Plan’s

participants.”32         In creating these models, Dr. Pomerantz assessed the Actively Managed

Proprietary Funds relative to his chosen alternative funds based on historical performance of the

funds over the Class Period.              However, Dr. Pomerantz testified during his deposition that

“historical performance is actually irrelevant” in deciding which investment options to include or

retain in a retirement plan.33 Thus, Dr. Pomerantz’s own testimony invalidates the very analysis



28
     Pomerantz Report, ¶ 87, PX250.
29
     Pomerantz Report, ¶¶ 90-91, PX250.
30
     [Content omitted]
31
     Pomerantz Deposition, p. 44.
32
     Pomerantz Report, p. 3, PX250.
33
     Pomerantz Deposition, pp. 162-164.


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that he attempts to use with his Model 1 and Model 2 in ascertaining whether the inclusion of the

Actively Managed Proprietary Funds in the Plan during the Class Period was imprudent. More

specifically, Dr. Pomerantz’s testimony contradicts the premise of his own analysis, namely that

the Investment Committee should have analyzed performance [Content omitted] in order to

determine whether to replace the Actively Managed Proprietary Funds [Content omitted].


20.        Dr. Pomerantz also testified in his deposition that he is not opining that either of the

alternative Plan line-ups in Model 1 or Model 2 would have been adopted by the Plan fiduciaries

in lieu of the Actively Managed Proprietary Funds, or even that these alternative Plan line-ups

were prudent. For Model 1, he testified that, “I'm not saying that the proprietary fund[s] at issue

here would have been replaced with index funds.”34 In other words, he is not opining that his

specific Model 1 comparators would have been, or should have been, substituted for the Actively

Managed Proprietary Funds.35 Regarding Model 2, Dr. Pomerantz testified during deposition that

he does not opine as to the prudence or imprudence of his Model 2 options.36 Given that Dr.

Pomerantz specifically declined to opine on the prudence of his alternatives, his Model 1 and

Model 2 comparisons provide no information about whether the inclusion of the Actively Managed

Proprietary Funds represented a breach of fiduciary duty.


21.        Moreover, Dr. Pomerantz testified at deposition that Plan fiduciaries should have replaced

all proprietary funds in the Plan at the beginning of the Class Period. Dr. Pomerantz offers no




34
     Pomerantz Deposition, p. 53.
35
  As discussed in detail in paragraph 38 below, Dr. Pomerantz also does not consider the preferences of Plan
participants, and therefore does not opine that participants who had invested in the Actively Managed Proprietary
Funds would have chosen to invest in his comparators rather than in the other actively managed non-proprietary
funds on the Plan menu.
36
     Pomerantz Deposition, p. 44.


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analysis showing that a prudent fiduciary would—or, as a practical matter, could—have

immediately removed all proprietary funds as of December 21, 2009. Indeed, Dr. Pomerantz

implies the contrary in his report. According to Dr. Pomerantz, as of December 2009, Plan

fiduciaries should have “conduct[ed] a thorough review of the proprietary investments that

included a comparison to marketplace alternatives, as a prudent and loyal fiduciary would have

done.”37 In addition, even though Dr. Pomerantz testified that fiduciaries should have engaged in

daily reevaluation of the Plan’s fund lineup, Dr. Pomerantz’s Models 1 and 2 both employ lineups

of comparators that do not change after the beginning of the Class Period.38


22.        Specific to his Model 1, Dr. Pomerantz testified that his Model 1 comparison to an index

fund “is a market-adjusted analysis of how an unconflicted choice would have performed.”39 For

such a comparison to be appropriate, Dr. Pomerantz would need to demonstrate that the Actively

Managed Proprietary Funds and their respective Model 1 comparators tracked the same index. As

shown in Exhibit 4, the prospectus benchmarks for six of the seven Actively Managed Proprietary

Funds were different from the prospectus benchmarks of their Model 1 index fund comparators,40

and these prospectus benchmarks had returns over the Class Period that differed. For example,

Dr. Pomerantz compares the performance of the Deutsche Large Cap Value Fund to that of the

Vanguard Value Index Fund. However, the prospectus benchmark of the Vanguard Value Index


37
     Pomerantz Report, p. 3, PX250.
38
   “[M]aybe they made an imprudent selection ten years prior to that point in time and then did nothing. But the way
I think of things is every day is a new day. So every day you have the opportunity to erase a decision you made
yesterday. Or affirmatively support the decision that you made yesterday. […] If a prudent or imprudent decision
was made in 2005, I have no opinion on that. […] I think implicitly you affirm that statement every single day by
either doing something or not doing something. ”.” (Pomerantz Deposition, pp. 75-79.)
39
     Pomerantz Deposition, p. 53.
40
  For the seventh, Dr. Pomerantz did not identify a Vanguard comparator, and instead used the prospectus
benchmark. (Pomerantz Report, p. 32 n. 113, PX250.)



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Fund (the MSCI U.S. Prime Market Index and later the CRSP U.S. Large Cap Value Index 41) had

an annualized total return over the Class Period that exceeded the annualized total return of the

prospectus benchmark of the Deutsche Large Cap Value Fund (the Russell 1000 Value Index) by

27 basis points. (See Exhibit 4.) This means that Dr. Pomerantz is not performing an “apples-to-

apples” comparison, and therefore, some of the differences in performance that Dr. Pomerantz

finds in his Model 1 comparison are the result of using an inappropriate comparator to evaluate

the performance of the Actively Managed Proprietary Funds. Therefore, for this reason alone, his

Model 1 is insufficient to demonstrate that the inclusion of the Actively Managed Proprietary

Funds was imprudent.


23.        Specific to his Model 2, Dr. Pomerantz testified during deposition that he does not opine

as to the prudence or imprudence of his Model 2 options.42 He stated that the investment options

used in his Model 2 represent the “collective wisdom or the collective decision-making of the DC

community.”43 A proper benchmarking analysis requires examination of the Plaintiffs’ economic

position in this Plan, not the imposition of other investment committees’ choices for other Plans.

Further, of particular relevance to Dr. Pomerantz’s method, such an analysis should evaluate the

performance of the Actively Managed Proprietary Funds relative to but-for prudent investment

options that fiduciaries free of the alleged misconduct in this case would have been likely to

choose. He has not done so. In other words, if his Model 2 Pomerantz Benchmarks are not prudent

investment options that a prudent fiduciary would have chosen, then the performance of these




41
  In 2013, the prospectus benchmark for Vanguard Value Index Fund changed from MSCI US Prime Market Value
Index to CRSP US Large Cap Value TR USD. See Exhibit 4.
42
     Pomerantz Deposition, p. 44.
43
     Pomerantz Deposition, pp. 44-45.


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funds is not appropriate to use in evaluating whether the performance of the Actively Managed

Proprietary Funds was consistent with the performance of a prudent option.


24.       In addition, it is impractical and unreasonable to use the Pomerantz Benchmarks underlying

Dr. Pomerantz’s Model 2 as a basis for evaluating the performance of the Actively Managed

Proprietary Funds. Despite Dr. Pomerantz disclaiming an opinion as to the prudence of the

Model 2 options, Dr. Pomerantz’s Model 2 relies on a single comparator fund for each Actively

Managed Proprietary Fund, and therefore is premised on the assumption that the fund in a given

Morningstar category that is the most “popular” among other fiduciaries represents the only

prudent alternative benchmark by which to evaluate the performance of the investment options in

the Plan.44 This assumption is unreasonable for several reasons.


25.       First, Dr. Pomerantz distills the “collective wisdom” of the DC community to a single fund

within each asset class. In reality, different fiduciaries choose different funds in the same asset

class for their own plans. The fact that fiduciaries can and do select from a range of different funds

in the same asset class is shown by Dr. Pomerantz’s own analysis where he first identifies the top

five funds most commonly used among fiduciaries of 401(k) plans in a given Morningstar category

before narrowing his Model 2 options down to a single fund.45 In other words, there is a wide

range of potential funds in a given asset class from which plan fiduciaries can choose, and have

chosen, when determining investment lineups for retirement plans. Each of the other possible

funds in the same asset class has its own set of returns, and this range of returns represents what a


44
  I note that Dr. Pomerantz does not claim underperformance by the actively managed non-proprietary funds
offered by the Plan. Many of the actively managed non-proprietary funds offered by the Plan do not appear among
the top five most popular funds within a given Morningstar category identified by Dr. Pomerantz. (Pomerantz
backup file, PX322.XLSX.) This is at odds with the premise implicit in Dr. Pomerantz’s Model 2 that the most
“popular” funds among other fiduciaries represent the only prudent investment options for the Plan.
45
     Pomerantz backup file, PX322.XLSX.


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plan fiduciary can expect to achieve in selecting an investment option in that asset class for its

retirement plan, not the individual set of returns of Dr. Pomerantz’s single comparator.


26.        Second, if accepted, Dr. Pomerantz’s Model 2 would act to limit, and even eliminate,

competition. That is, if only the most popular fund in any given category is a reasonable

investment option and the only appropriate comparator to evaluate performance of an investment

option, then all fiduciaries of defined contribution plans would face great pressure to switch to the

most popular funds or risk lawsuits, regardless of whether a diligent selection process would have

rendered the same selection. Were this to happen, defined contribution plans would differ only

with respect to the number of categories they offered and every plan that included a particular

category would offer the same fund, limiting any potential demand for competing funds and

rendering any diligent investment selection process irrelevant.


27.        Third, Dr. Pomerantz claims that his chosen Model 2 Pomerantz Benchmarks represent

investment options selected from an “unconflicted process.”46 He does so notwithstanding the fact

that he has not demonstrated that these investment options were selected from an “unconflicted

process.” Further, Dr. Pomerantz has not provided justification for the premise that his Model 2

Benchmarks are the only appropriate benchmarks rather than other unaffiliated funds held by

retirement plans such as, for instance, the other five “most popular” unaffiliated investment options




46
     Pomerantz Deposition, p. 44.



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held in retirement plans, or even the other actively managed non-proprietary funds offered in the

Plan.47, 48


28.      In sum, Dr. Pomerantz’s deposition testimony that historical performance is actually

irrelevant in deciding which investment options to include or retain in a retirement plan contradicts

the premise of his own performance-based analysis. Furthermore, the Pomerantz Benchmarks in

Models 1 and 2 are inadequate for purposes of evaluating the appropriateness of the Actively

Managed Proprietary Funds as investment options in the Plan.


         C.       Dr. Pomerantz fails to meet the basic standards of establishing the
                  underperformance of the Actively Managed Proprietary Funds

29.      Dr. Pomerantz’s performance-based analysis of the Actively Managed Proprietary Funds

includes additional false assumptions and flaws. First, Dr. Pomerantz’s analysis suffers from

hindsight bias—i.e., it is premised on the faulty assumption that, at the beginning of the Class

Period, the Investment Committee should have anticipated underperformance by the Actively

Managed Proprietary Funds. Contrary to Dr. Pomerantz’s assumption, however, the information

available at the beginning of the Class Period did not warrant a prediction that the Actively

Managed Proprietary Funds would perform poorly and thus did not warrant the removal of all

Actively Managed Proprietary Funds at the beginning of the Class Period as suggested by


47
  Dr. Pomerantz’s Model 2 is premised on the value of comparing the Actively Managed Proprietary Funds to
mutual funds available in the marketplace. To select the Model 2 Pomerantz Benchmarks, Dr. Pomerantz first
identifies, among fiduciaries of plans with more than $250 million in assets, the top five most frequently held funds
that have the same Morningstar category as each Actively Managed Proprietary Fund (“Top 5 Funds”). From those
Top 5 Funds, Dr. Pomerantz then selects a single fund that had the most assets invested in it by plans with more than
$250 million in assets. (Pomerantz Report, ¶¶ 90-91, PX250.)
48
  I note that Plaintiffs’ other expert, Ms. Marcia Wagner, testified at her deposition that a fiduciary should not
“follow the pack” in investment selection and that just because a particular fund is chosen by other plan fiduciaries
does not mean that such fund is necessarily prudent or imprudent for a particular plan. (Deposition of Marcia S.
Wagner, Esq., December 15, 2017, pp. 243-244.)



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Dr. Pomerantz. For instance, as shown in Exhibit 5 (also in the table below), at the beginning of

the Class Period, several of the Actively Managed Proprietary Funds had historical five-year

returns that were greater than those of their respective Pomerantz Benchmarks, while other

Actively Managed Proprietary Funds had less risky investment strategies as measured by lower

standard deviation of historical returns relative to their respective benchmarks.49




49
  Historical rolling returns are annualized average returns for a specified period (e.g., 1-year, 3-year, 5-year, etc.).
For example, a historical five-year return as of December 31, 2010 is the annualized average return from January 1,
2006 through December 31, 2010. These returns are useful for examining the behavior of returns for various
holding periods. Standard deviation is a measure of dispersion of a set of data from its mean. When applied to the
returns of an investment, it informs the historical volatility of that investment. The greater the standard deviation of
returns of a security, the greater the variance between each return and the mean, indicating a larger return range and
higher volatility. Thus, an investment with a lower standard deviation of returns can be perceived as being less
volatile relative to its mean than one with higher standard deviation of returns.


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             Performance Statistics of Actively Managed Proprietary Funds and the Pomerantz Benchmarks
                                                                         December 2009

                                                                                                                           Annualized 5-Year Statistics
                                                                             Assets Under
                                                                             Management                        Cumulative            Standard
                                                                             (in millions)         Fee          Return               Deviation         Sharpe Ratio
Deutsche Capital Growth Fund                                                      $1,771          0.71%           2.33%                14%                  -0.03
   Model 1: Vanguard Growth Index Fund;Institutional                             $15,670          0.08%           1.79%                16%                  -0.06
   Model 2: Fidelity Contrafund                                                  $63,892          1.02%           4.75%                15%                   0.13
Deutsche Core Fixed Income Fund                                                     $605          0.55%           0.78%                 5%                  -0.39
   Model 1: Vanguard Total Bond Market Index Fund;Inst                           $67,871          0.07%           5.04%                 4%                   0.63
   Model 2: PIMCO Total Return Fund;Institutional                               $201,742          0.45%           6.85%                 4%                   0.97
Deutsche CROCI International Fund                                                 $1,261          0.81%           3.15%                22%                  0.02
   Model 1: Vanguard Total International Stock Index Fund;Inst                   $26,044          0.27%           5.26%                21%                  0.12
   Model 2: Dodge & Cox International Stock Fund                                 $36,748          0.65%           5.59%                23%                  0.13

Deutsche Global Growth Fund 3                                                     $1,221          1.12%           36.40%               23%                  1.55
   Model 1: Vanguard Total World Stock Index Fund;Inst                              $757          0.25%           25.81%               25%                  1.02
   Model 2: American Funds New Perspective Fund;R5                               $43,835          0.52%           29.67%               22%                  1.37
Deutsche High Income Fund                                                         $1,533          0.67%           4.93%                11%                  0.21
   Model 1: BofAML US HY Master II Constrnd                                            -             -            6.40%                13%                  0.28
   Model 2: Fidelity Capital & Income Fund                                       $11,493          0.78%           7.64%                14%                  0.35
Deutsche Large Cap Value Instl                                                    $1,629          0.63%           1.66%                15%                  -0.07
   Model 1: Vanguard Value Index Fund;Institutional                              $11,641          0.08%           0.19%                17%                  -0.15
   Model 2: Dodge & Cox Stock Fund                                               $39,991          0.52%           -0.69%               19%                  -0.18
Deutsche Real Estate Sec Instl                                                      $973          0.63%           0.75%                32%                  -0.06
   Model 1: Vanguard REIT Index Fund;Institutional                               $11,280          0.09%           0.71%                32%                  -0.06
   Model 2: TIAA-CREF Real Estate Securities Fund;Inst                              $495          0.56%           -1.87%               31%                  -0.15

Notes:
[1] BofAM L US HY M aster II Constrnd is an index and therefore does not have values for Assets Under M anagement or Fee.
[2] "-" indicates missing data.
[3] The Deutsche Global Growth Fund's and its alternatives' statistics are calculated only for the period from November 2008 to December 2009 as the Deutsche Global
Growth Fund's first full month of data is September 2008 and the Vanguard Total World Stock Idx's first full month of data is November 2008.
S ources:
Lipper for Investment M anagement; M orningstar Direct; Pomerantz Report, PX250.




30.         Moreover, Dr. Pomerantz improperly fails to consider the value of the Actively Managed

Proprietary Funds to Plan participants as compared to the value of the Pomerantz Benchmarks.

Ignoring the relative costs as well as benefits of the Actively Managed Proprietary Funds compared

to the available alternatives is tantamount to claiming that a product, such as a hotel room, is priced

excessively simply because a cheaper (or more popular) alternative was available, without taking

into account differences in the hotel’s location, quality, and services. Indeed, Dr. Pomerantz

considers nothing other than the Actively Managed Proprietary Funds’ net-of-fee returns and

ignores other attributes that may add value for Plan participants. For example, Dr. Pomerantz

ignores that the Actively Managed Proprietary Funds offer benefits not offered by index funds

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(which I describe in detail below in Section VI.B.1) and the role of the Actively Managed

Proprietary Funds within Plan participants’ broader portfolios (both inside and outside of the Plan).

The absence of a cost-benefit analysis of the Actively Managed Proprietary Funds renders the

Pomerantz Models incapable of evaluating the totality of the performance of the Actively Managed

Proprietary Funds.


31.    In sum, Dr. Pomerantz’s performance-based analysis for the Actively Managed Proprietary

Funds in the Plan has not demonstrated that any underperformance was expected and caused by

the alleged breaches and does not consider other attributes of the Actively Managed Proprietary

Funds that participants may value.


V.     The Pomerantz Models and Many of the Pomerantz Benchmarks Are Unable to
       Support Dr. Pomerantz’s Conclusions

32.    In addition to the overarching flaws in Dr. Pomerantz’s performance-based analysis, both

of the Pomerantz Models, as well as the associated Pomerantz Benchmarks, suffer from additional

flaws. Specifically, many of the Pomerantz Benchmarks have different characteristics from their

respective Actively Managed Proprietary Funds, and Dr. Pomerantz has not determined how much

of his calculated performance-based differences are attributable to these differences versus

attributable to the alleged misconduct.       In addition, Dr. Pomerantz’s selection of a single

Pomerantz Benchmark to evaluate the performance of each Actively Managed Proprietary Fund is

unjustified because he has not established that his selection would be the only appropriate choice

among all other possible funds in the same asset class.




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       A.      Some Pomerantz Benchmarks have characteristics that are different than the
               investment options in the Plan that Dr. Pomerantz seeks to evaluate and has
               replaced

33.    Even among mutual funds with similar investment objectives (e.g., the same Morningstar

Category), different investment managers have different approaches in managing their funds.

Thus, even though Dr. Pomerantz selects each Pomerantz Benchmark so that it has the same

Morningstar Category as the corresponding Actively Managed Proprietary Fund, some Pomerantz

Benchmarks exhibit different risk characteristics than their respective Actively Managed

Proprietary Fund, as shown by differences in prospectus benchmarks and asset allocations. Mutual

funds with different prospectus benchmarks may pursue different investment strategies and have

different risk profiles.   Similarly, differences in asset allocation can reflect different risk

characteristics. Funds with different risk characteristics, regardless of whether the funds were

prudent investments, are expected to have different returns. Accordingly, without determining

how much of the difference in returns between two funds is due to differences in their risk

characteristics or in the absence of selecting a range of funds with a range of risk characteristics to

use as comparators, it is inappropriate to assume that any difference in returns is indicative of or

due solely to the alleged misconduct. Dr. Pomerantz has failed to control for these differences in

fund characteristics in his performance-based analysis.


34.    For instance, the Pomerantz Benchmarks for the Deutsche Global Growth Fund and the

Deutsche Large Cap Value Fund have different prospectus benchmarks than these funds,

indicating that the Pomerantz Benchmarks pursued a different investment strategy than these two

Actively Managed Proprietary Funds. Specifically, the Deutsche Global Growth Fund has a

primary prospectus benchmark of the MSCI World Index, which invests in large- and mid-cap




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equity in 23 developed markets.50 The Model 1 Pomerantz Benchmark for this fund has a

prospectus benchmark of the FTSE Global All Cap (US RIC) Index, which represents the

performance of large-, mid-, and small-cap equity stocks in both developed and emerging

markets.51 For Model 2, the Pomerantz Benchmark for this fund has a prospectus benchmark of

the MSCI ACWI Index, which represents the performance of large- and mid-cap equity in both

developed and emerging markets.52 Similarly, the Deutsche Large Cap Value Fund has a different

prospectus benchmark than either of Dr. Pomerantz’s proposed alternatives. Exhibit 4 shows the

many differences between prospectus benchmarks for the Actively Managed Proprietary Funds

and the Pomerantz Benchmarks.


35.     In addition, some Pomerantz Benchmarks have different asset allocations than their

corresponding Actively Managed Proprietary Funds.53 Differences in asset allocation can lead to

differences in returns. For example, a fixed income mutual fund that is more heavily weighted

towards high yield bonds is expected to have higher average returns over time than one that is

more heavily weighted towards high rated bonds because the former is exposed to higher credit

risk. In this case, for instance, the Deutsche Capital Growth Fund has a vastly different asset

allocation than its Pomerantz Benchmark in Model 2, the Fidelity Contrafund. The chart below

shows that, while the allocation to non-US equity of the Deutsche Capital Growth Fund was only

0.8 percent, the Fidelity Contrafund had a much higher allocation at 18.7 percent.


50
  See, for example, MSCI World Index Factsheet, DX249, accessed at
https://www.msci.com/documents/10199/178e6643-6ae6-47b9-82be-e1fc565ededb.
51
  See, for example, FTSE Global All Cap Index Factsheet, DX247, accessed at
http://www.ftse.com/Analytics/FactSheets/Home/DownloadSingleIssue/GAE?issueName=GEISLMS.
52
  See, for example, MSCI ACWI Index Factsheet, DX248, accessed at
https://www.msci.com/documents/10199/8d97d244-4685-4200-a24c-3e2942e3adeb.
53
  Appendix D shows the sector allocations of the Actively Managed Proprietary Funds as well as those of the
Pomerantz Benchmarks.


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                                   Comparison of Asset Allocation (Based on Net Assets)
                                            Deutsche Capital Growth Fund
                                                               2009
    100%

      90%

      80%

      70%

      60%

      50%

      40%

      30%

      20%

      10%

      0%
                        Deutsche Capital Growth Fund                                     Fidelity Contrafund


                                  Cash   US Equity     Non-US Equity   US Bond   Non-US Bond   Other

 Source:
 Morningstar Direct.




36.         Similarly, Dr. Pomerantz uses the Vanguard Value Index Fund as his Model 1 alternative

for the Deutsche Large Cap Value Fund even though the Vanguard Value Index Fund has a much

lower asset allocation to non-U.S. equity of 0.3 percent (compared to 14.0 percent). (See below

chart.)


37.         Each of these differences in prospectus benchmark and asset allocation renders unreliable

the comparison that Dr. Pomerantz makes between the net returns of the Actively Managed Funds

and the Pomerantz Benchmarks.




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                                   Comparison of Asset Allocation (Based on Net Assets)
                                            Deutsche Large Cap Value Fund
                                                              2009
   100%

      90%

      80%

      70%

      60%

      50%

      40%

      30%

      20%

      10%

      0%
                        Deutsche Large Cap Value Fund                              Vanguard Value Index Fund; Inst

                                 Cash    US Equity   Non-US Equity   US Bond   Non-US Bond    Other
Source:
Morningstar Direct.




38.         In suggesting alternative funds with different risk characteristics as the Actively Managed

Proprietary Funds, Dr. Pomerantz also fails to consider participants’ preferences for the different

risk characteristics of the Actively Managed Proprietary Funds as compared to those of

Dr. Pomerantz’s chosen comparators. That is, Dr. Pomerantz simply assumes, without any basis,

that Plan participants would have accepted the Pomerantz Benchmarks as suitable alternatives to

the Actively Managed Proprietary Funds. This assumption is speculative, and, in fact, Plan

investment data show the contrary. Specifically, Actively Managed Proprietary Funds represented

approximately one-third of Plan assets and available core investment options during the Class

Period. Even though participant investment decisions revealed this preference, Dr. Pomerantz

ignores such evidence by, for example, focusing only on using net returns of index funds as

benchmarks to evaluate the performance of the Actively Managed Funds in his Model 1. For


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example, Dr. Pomerantz proposes the Vanguard Total Bond Market Index Fund as an alternative

fund to the Deutsche Core Fixed Income Fund. The Vanguard Total Bond Market Index Fund

was in fact added to the Plan beginning in 2013. That is, beginning in 2013, this fund was already

available to Plan participants, who could have chosen to invest in this fund in lieu of the Deutsche

Core Fixed Income Fund if they considered it a reasonable alternative. Instead, even once the

Vanguard Total Bond Market Index Fund was introduced as an option, the level of Plan assets in

the Deutsche Core Fixed Income Fund remained relatively constant at $57 to $61 million,

suggesting that Plan participants did not elect to switch to Dr. Pomerantz’s proposed alternative.54


39.        Furthermore, Dr. Pomerantz testified in his deposition that Deutsche Bank’s Termination

Review criteria are “bona fide criteria” and that a fund should have been removed as soon as it

qualified for termination review.55 However, Dr. Pomerantz has not performed an analysis to

determine if the Pomerantz Benchmarks would have qualified to be included on the Termination

Review lists.56 In fact, many of the Pomerantz Benchmarks—which Dr. Pomerantz claims are

reasonable alternative investments—would be considered imprudent under Dr. Pomerantz’s own

logic. For instance, while Dr. Pomerantz claims that the Deutsche Large Cap Value Fund was an

imprudent investment because it would have appeared on the Special Review and Termination

Review lists for several quarters,57 the Dodge & Cox Stock Fund, which Dr. Pomerantz proposes




54
  In addition, Dr. Pomerantz’s but-for investment lineup in Model 2 proposes an alternative fund, the Dodge & Cox
International Stock Fund, that was already offered within the Plan throughout the Class Period. That is, this fund
was already available to Plan participants, who could have chosen to invest in this fund in lieu of the Deutsche
CROCI International Fund if they considered it a reasonable alternative. (See Exhibit 2a.)
55
     Pomerantz Deposition, pp. 118-119.
56
     Pomerantz Deposition, pp. 133-135.
57
     Pomerantz Report, ¶¶ 108-110, PX250.


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as an alternative to the Deutsche Large Cap Value Fund, would have appeared on the Termination

Review list for three quarters from 3Q 2010 through 1Q 2011. (See Exhibit 6.)


40.     Thus, by his own criterion—qualified for Termination Review—several of the Pomerantz

Benchmarks should be removed from consideration.


        B.       When expanding the set of alternative funds against which the performance
                 of the Actively Managed Proprietary Funds is evaluated beyond
                 Dr. Pomerantz’s inappropriate single comparators, the performance of the
                 Actively Managed Proprietary Funds was consistent with that of other
                 mutual funds available to Plan fiduciaries in the marketplace

41.     While there are characteristics other than performance that plan fiduciaries should consider

when evaluating a mutual fund, Dr. Pomerantz chooses to focus on performance in claiming that

the Actively Managed Proprietary Funds should have been removed from the Plan at the beginning

of the Class Period. The Pomerantz Models, however, use a flawed approach to evaluating the

performance of the Actively Managed Proprietary Funds by using a single alternative fund for

each Actively Managed Proprietary Fund. Yet, Dr. Pomerantz has not established that each of

these alternatives would be the only appropriate choice among all other possible funds in the same

asset class. In fact, in developing his two different models, Dr. Pomerantz implies that he believes

there can be multiple reasonable alternatives for each Actively Managed Proprietary Fund, with

each alternative associated with a distribution of returns.58 Given multiple reasonable alternatives,

an appropriate performance comparative analysis should compare the returns of the Actively




58
  Moreover, Dr. Pomerantz does not attempt to reconcile or explain the differences in results across his models. For
example, for the Deutsche Capital Growth Fund, his Model 1 comparator generally outperformed the Deutsche
Capital Growth Fund over the Class Period, while his Model 2 comparator underperformed the Deutsche Capital
Growth Fund over the Class Period. (Pomerantz Report, pp. 36-37, PX250.)


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Managed Proprietary Funds to the distribution of returns achieved by the range of comparable

options. Dr. Pomerantz does not perform such a comparison.


42.        Dr. Pomerantz’s Model 2 is premised on the comparison of the performance of the Actively

Managed Proprietary Funds to mutual funds available in the marketplace. To select the Model 2

Pomerantz Benchmarks, Dr. Pomerantz first identifies, among fiduciaries of plans with more than

$250 million in assets, the top five most frequently held funds that have the same Morningstar

category as each Actively Managed Proprietary Fund (“Top 5 Funds”). From those Top 5 Funds,

Dr. Pomerantz then selects a single fund that had the most assets invested in it by plans with more

than $250 million in assets.59 Dr. Pomerantz contends that this approach creates a plan investment

lineup that “replicate[s] the investment decisions that other fiduciaries of similar retirement plans

were making around the same time;” therefore, its performance reflects “how the Plan would have

performed in the hands of a prudent fiduciary.”60 Even though Dr. Pomerantz selects from a range

of possible alternatives, he nonetheless improperly bases his analysis on a single alternative fund.


43.        Notwithstanding the flaws in the Pomerantz Models, it is instructive to adapt the Pomerantz

Models to account for a range of possible comparable alternatives by comparing the returns of

each Actively Managed Proprietary Fund to the distribution of returns for the comparable Top 5

Funds identified by Dr. Pomerantz. In other words, if one believes Dr. Pomerantz’s logic that the

fund selections made by other plan fiduciaries represent appropriate benchmarks to evaluate the

performance of the Actively Managed Proprietary Funds in the absence of the alleged misconduct,

then one should consider all of these Top 5 Funds, rather than the single comparator chosen by Dr.



59
     Pomerantz Report, ¶¶ 90-91, PX250.
60
     Pomerantz Report, ¶ 89, PX250.


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Pomerantz. As shown in Exhibit 7 (also in table below), over the Class Period, four of the seven

Actively Managed Proprietary Funds had returns that fell within the range observed for the Top 5

Funds identified by Dr. Pomerantz.


                    Comparison of Cumulative Annualized Returns for Actively Managed Proprietary Funds to
              the Top 5 Most Frequently Held Funds in the Same Morningstar Category As Identified by Dr. Pomerantz
                                                                        January 2010 - September 2017

                                                                                           Cumulative Annualized Return


                                                                                                                                 Return within or
                                                                       Actively Managed       Minimum            Maximum        above Alternative
      Actively Managed Proprietary Fund                                Proprietary Option Alternative Return Alternative Return   Return Range
      Deutsche Capital Growth Fund                                                11.8%                       10.4%                       14.7%                       X
      Deutsche Core Fixed Income Fund                                              4.2%                        3.6%                        4.4%                       X
      Deutsche CROCI International Fund                                            3.5%                        8.9%                       14.7%
      Deutsche Global Growth Fund                                                  5.4%                        7.3%                        9.3%
      Deutsche High Income Fund                                                    7.7%                        6.6%                        8.4%                       X
      Deutsche Large Cap Value Instl                                               8.6%                        9.7%                       12.3%
      Deutsche Real Estate Sec Instl                                              12.6%                       10.2%                       13.0%                       X

      Number of Actively Managed Proprietary Funds Included in Dr. Pomerantz's Analysis                                                                              7
      Number of Actively Managed Proprietary Fund Returns Greater than At Least One of the Top 5 Alternatives                                                        4
           Percent                                                                                                                                                  57%

Notes:
[1] The time period during the class period from December 21, 2009 through December 31, 2009 is excluded from this analysis.
[2] In his selection of Pomerantz Benchmarks for Model 2, Dr. Pomerantz states that he first identifies the Top 5 most frequently held funds by plans with greater than $250M in assets.
Sources:
Deutsche Bank Matched Savings Plan Participant Account Balance Data, PX057; Morningstar Direct; Pomerantz Report, PX250; Dr. Pomerantz's Backup File (PX322.XLSX);
Fidelity Trial Balance DB MSP January 1, 2017 to January 31, 2017, DX142.0003; 2017-04 Trial Balance, JX138.0003; Deutsche Bank Matched Savings Plan Quarterly Investment Review,
Third Quarter 2016, JX187.




44.           Moreover, [Content omitted] Section 15(c) of the Investment Company Act mandates that

a mutual fund’s independent directors or trustees must annually review and approve the advisory

contract between the fund and its investment adviser, including the advisory fees. As part of this

process, the Board of Directors or Trustees must request and evaluate, and the fund’s adviser must

furnish, information that may be reasonably necessary for the directors or trustees to assess the

terms of a fund’s advisory agreement, including an evaluation of fees and performance of the

mutual fund relative to its peers.61 This process is known as the “15(c) process,” named after the


61
  See, for example, Independent Directors Council, “Advisory Contract Renewal,” DX199, available at:
http://fundamentals.idc.org/oversight/oversight_advisory.


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section of the Investment Company Act that requires a majority of a fund’s independent directors

or trustees to approve the fund’s advisory contract annually at an in-person meeting called for that

purpose.62


45.        As part of the 15(c) process, a mutual fund’s Board of Directors or Trustees requests

information from the funds’ adviser. The fund’s adviser then responds with the requested

information, some of which is provided by third-party consultants like Lipper.63                       [Content

omitted]64


46.        [Content omitted]65 [Content omitted]66


47.        Lipper’s performance analysis included in the 15(c) materials shows that more than half of

the Actively Managed Proprietary Funds had historical long-term performance that was above the

median of that of their respective peer groups at the beginning of the Class Period, when

Dr. Pomerantz testified that each of these Actively Managed Proprietary Funds should have been

removed from the Plan.67 Specifically, the 15(c) materials reflecting investment performance

through year-end 2009 show that, for the share classes disclosed in the 15(c) materials, the five-

year returns for four of the seven Actively Managed Proprietary Funds were above the median of

their Lipper peer groups, with two additional funds just below the median with five-year returns




62
     See Investment Company Act of 1940, USC Sec. 80a-10, DX200.
63
  See, for example, Independent Directors Council, “Advisory Contract Renewal,” DX199, available at:
http://fundamentals.idc.org/oversight/oversight_advisory.
64
     [Content omitted]
65
     [Content omitted]
66
     [Content omitted]
67
     Pomerantz Deposition, pp. 77-79.



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higher than 49 and 47 percent of their Lipper peer groups (see [Content omitted] DWS Funds

Board Annual Contract Review 2010, Performance Book III, DX153).


48.       The seventh fund, the DWS Core Fixed Income Fund, had five-year returns in the fourth

quartile of its peer group.68 However, much of this underperformance is attributable to the

performance of the fund when it was under the management of its former sub-adviser, Aberdeen

Asset Management, up until approximately one year prior to the Class Period. Aberdeen Asset

Management was terminated as sub-adviser of the Deutsche Core Fixed Income Fund due to

performance issues and DB Advisors assumed control at the end of February 2009. The Fund has

performed well since DB Advisors assumed control.69 [Content omitted]


[Content omitted]


49.       In sum, by using a single alternative fund for each Actively Managed Proprietary Fund in

each of his models, Dr. Pomerantz has failed to consider the performance of the Actively Managed

Proprietary Funds relative to their respective peer groups. If one broadens the set of potential

alternatives beyond Dr. Pomerantz’s single fund, it becomes apparent that the Actively Managed

Proprietary Funds’ performance was close to, or above, the median of those potential alternatives,

or in one case, improved by the Board’s choice to move portfolio management to DB Advisors

from a sub-adviser. Thus, Dr. Pomerantz has ignored evidence that the Plan fiduciaries’ choices

were reasonable, and therefore appropriate. Further, Dr. Pomerantz has not shown that the

selection of the Actively Managed Proprietary Funds was imprudent.



68
     DWS Funds Board Annual Contract Review 2010, Performance Book III, DX153.0017.
69
  Deutsche Bank Investment Committee Meeting Minutes, February 8, 2010, JX047.0002. A sub-adviser is a
company employed by a mutual fund’s adviser to assist with the management of a given mutual fund. (Morningstar
Investing Glossary, “Subadvisor,” DX201, accessed at http://www.morningstar.com/InvGlossary/subadvisor.aspx.)


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VI.        Contrary to Dr. Pomerantz’s Claims, Participants in the Plan Did Not Pay Excessive
           Investment Management Fees

           A.      Overview of Dr. Pomerantz’s Claims of Fiduciary Breaches Based on
                   Supposedly Excessive Investment Management Fees

50.        Dr. Pomerantz opines that Defendants “fail[ed] to investigate lower-cost alternatives to the

Plan’s investments and … fail[ed] to remove excessively-costly investments from the Plan.”70

Dr. Pomerantz attempts to demonstrate these alleged failures to manage the plan in a “cost-

conscious manner” through a fee-based analysis that evaluates the expense ratios of the proprietary

and non-proprietary mutual funds in the Plan using three different benchmarks, which I

collectively refer to as the “Pomerantz Fee Benchmarks”:71

          Callan: Callan is an independent third-party company that, like Lipper, provides
           information to funds’ boards or trustees. It periodically sends an electronic questionnaire
           seeking information on institutional investment management fees. Based on the
           responses Callan receives, Callan calculates the median actual expense ratios paid for
           separately managed account products by broad asset classes as reported by the fund
           sponsor respondents to the questionnaire.72 Dr. Pomerantz assigns a Callan broad
           category to each of the Plan’s proprietary mutual funds and compares the actual expense
           ratio of the proprietary mutual fund to the median expense ratio reported by Callan for
           the broad category, plus ten basis points for actively managed funds and seven basis
           points for passively managed funds to account for recordkeeping and administrative
           costs. Dr. Pomerantz also performs the same “Callan” comparison for the non-
           proprietary mutual funds in the Plan.
          Vanguard: For each of the Plan’s proprietary mutual funds, Dr. Pomerantz compares the
           expense ratio of the investment option to the expense ratio of a comparable Vanguard
           index mutual fund that is in the same Morningstar category as the Plan proprietary




70
     Pomerantz Report, ¶ 9, PX250.
71
     Pomerantz Report, pp. 53-58, PX250.
72
  Callan Investments Institute, “2014 Investment Management Fee Survey: U.S. Institutional Fund Sponsors and
Investment Managers,” 2014, DX177.0004, DX177.0006-DX177.0007, DX177.0010. These broad asset classes
include U.S. Equity, Non-U.S./Global Equity, Fixed Income, and Alternatives; and the reported median expense
ratio of each broad asset class reflects the reported expense ratios of both actively managed and passively managed
separate accounts.



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           investment option, plus seven basis points to account for recordkeeping and
           administrative costs.73
          ICI: For each of the Plan’s proprietary mutual funds, Dr. Pomerantz compares the
           expense ratio of the investment option to the average expense ratio, reported by the
           Investment Company Institute (“ICI”), of actively managed and passively managed
           mutual funds in the same broad asset category as the Plan proprietary investment options
           paid by other 401(k) plans that are similar size in terms of assets.

51.        For the proprietary mutual funds in the Plan, Dr. Pomerantz concludes the funds were

excessively costly using both the Vanguard and Callan benchmarks. For the non-proprietary

mutual funds, Dr. Pomerantz bases his findings of fiduciary breach on a comparison to the Callan

benchmarks only.


           B.      Dr. Pomerantz’s focus on the investment management fees of the options in
                   the Plan is inappropriate because investors and fiduciaries evaluate
                   investment management fees in the context of the services provided

52.        Dr. Pomerantz claims that the investment options in the Plan were associated with “excess

expenses” and, as such, the Plan fiduciaries failed to control costs.74 Dr. Pomerantz’s claim implies

that only investment management fees are relevant to a prudent plan fiduciary when evaluating

investment options. However, investment management fees are the only relevant factor in the rare

case when services and other characteristics are identical. Rather than reduce the choice between

investment options to a comparison of fees, a fiduciary’s analysis of a plan’s investment options

and related fees must also consider the value that investors place upon services provided in return

for the investment management fee.



73
   The backup materials to the Pomerantz Report indicate that he added 7 bps to the expense ratio of the Vanguard
index funds. See cells W:28 and B:75 through AF:84 on “ANALYSIS” tab of Pomerantz Report backup file
PX334.XLSX. This was not reported in his expert report in this matter. During his deposition, Dr. Pomerantz
testified that he added 10 basis points or “[w]hatever the revenue share that was being paid.” Pomerantz Deposition,
p. 174.
74
     Pomerantz Report, ¶¶ 128-29, 135, PX250.



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53.      Depending on their investment objectives, investors weigh the particular services and

attributes associated with a mutual fund against its total fee. Mutual funds provide investors with

a bundle of various services, including portfolio management, fund share transfers, exchanges, and

redemptions, distribution networks, and marketing, legal, and auditing services.75 Thus, mutual

funds differ on many dimensions, and as the U.S. Department of Labor (“DOL”) has stated, “[f]ees

are just one of several factors fiduciaries need to consider in deciding on service providers and

plan investments.”76 According to the DOL, participants should “[c]onsider fees as one of several

factors in [their] decision making” and “[r]ealize that cheaper is not necessarily better.” 77 For

example, industry research suggests that fund performance is also an important factor for investor

decision making: the General Accounting Office states that “mutual fund advisers seek to

differentiate their offerings primarily by promoting their funds’ returns and their fund families’

services.”78




75
  Hubbard, R. G., et al., The Mutual Fund Industry: Competition and Investor Welfare, 2010, Columbia Business
School, DX174.0004.
76
  U.S. Department of Labor, Employee Benefits Security Administration, “Meeting Your Fiduciary
Responsibilities,” February 2012, PX324.0008, accessed at https://www.dol.gov/sites/default/files/ebsa/about-
ebsa/our-activities/resource-center/publications/meeting-your-fiduciary-responsibilities.pdf.
77
  U.S. Department of Labor, Employee Benefits Security Administration, “A Look at 401(k) Plan Fees,”
DX203.0005, accessed at https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf.
78
  United States General Accounting Office, “Mutual Fund Fees,” 2000, DX169.0064. Many academic studies
demonstrate that performance is an important factor for investors when selecting mutual funds. For example,
Capon, Fitzsimons, and Prince (2007) find that “performance-related variables were both the most important
information sources and selection criteria” for mutual fund investors. They determine that other factors, such as
fund manager reputation, were also important, while fund management expenses were less relevant. Sirri and
Tufano (1998) find that past performance is a significant indicator of fund flows even after controlling for total fees.
Khorana and Servaes (2004) find that a performance improvement from the 25 th to the 75th percentile results in an
increase in fund family market share of 17 percent. (Capon, N., et al., “An Individual Level Analysis of Mutual
Fund Investment Decision,” Journal of Financial Services Research, 1996, DX168.0010; Sirri, E. and Tufano, P.,
“Costly Search and Mutual Fund Flows,” The Journal of Finance, 53(5), 1998, JX139.0011-JX139.0012; Khorana,
A., and Servaes, H., “Conflicts of Interest and Competition in the Mutual Fund Industry,” Social Science Research
Network, July 2004, DX188.0022.)


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54.      When selecting plan options, fiduciaries should also consider the fund’s investment

strategy, expected distribution of future fund returns, the qualifications of the portfolio

management staff, the nature and quality of support services provided by the investment

management company (to the fund manager and/or to the plan), and the fit of the fund within the

broader context of the available plan options. Dr. Pomerantz’s analysis fails to take into account

any of these characteristics and, thus, is incomplete and does not allow for a proper “apples-to-

apples” comparison. For instance, as I will discuss in the sub-sections below, Dr. Pomerantz’s

fee-based analysis compares only the fee differential between actively managed and passively

managed funds but fails to account for the differences in level of services associated with actively

managed and passively managed funds. Similarly, Dr. Pomerantz’s fee-based analysis only

considers the differences in fees between mutual funds and SMAs but fails to consider the

differences in the benefits offered by mutual funds as compared to SMAs.79                               Therefore,

Dr. Pomerantz’s fee-based analysis does not measure the difference between the economic value

Plaintiffs would have received had the alleged misconduct not occurred and the economic value

Plaintiffs have received given the alleged misconduct. Dr. Pomerantz’s investment management

fee comparisons thus are insufficient to demonstrate that the Plan fiduciaries failed to manage the

Plan in a cost-conscious manner.




79
  Dr. Pomerantz claims that he is evaluating an alleged “failure to investigate separate accounts and CITs,” but his
Pomerantz Fee Benchmarks do not include any information regarding fees for CITs. See, for example, Pomerantz
Report, ¶¶ 134, 140, PX250.


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                   1.      Dr. Pomerantz’s comparison of the expense ratios of the Actively
                           Managed Proprietary Funds to those of the passively managed Vanguard
                           funds is inappropriate because actively managed and passively managed
                           funds are different investment products with different cost structures

55.        To support his opinion that the Plan’s investments were excessively costly, Dr. Pomerantz

compares the expense ratios of the Actively Managed Proprietary Funds to those of his Vanguard

Fee Benchmarks, which consist of passively managed index funds. This fee comparison is

inappropriate because Dr. Pomerantz does not control for differences in the type and level of

services offered across actively managed funds and passively managed funds.                 In fact,

Dr. Pomerantz does not show (or even contend) that active management in and of itself is

imprudent.80 This means that, under the valid supposition that the Plan fiduciary sought to include

actively managed options in the Plan, the passively managed options Dr. Pomerantz chooses

instead are not realistic choices for the Plan fiduciary.


56.        Passively managed funds, such as the Vanguard funds Dr. Pomerantz uses, typically

purchase all or a representative sample of a given index in order to track the performance of that

index. In contrast, actively managed funds, such as the Actively Managed Proprietary Funds in

question, attempt to outperform a specified benchmark or peer group. To accomplish this

objective, actively managed funds rely on the experience of portfolio managers, market forecasting

models, and research to select investments in order to time the market and/or adjust exposure to

specific sectors or securities pursuant to the funds’ investment mandates. In doing so, actively

managed funds allow investors to select from a wider variety of investment strategies, which




80
     Pomerantz Report, ¶ 86, PX250.



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provide exposure to a wider variety of risks.81 Therefore, by investing in actively managed funds,

investors not only have a chance of earning returns in excess of the funds’ benchmark indices, but

also can gain exposure to particular risk attributes with particular return characteristics, which

would not be available to them if they invested solely in index funds.82 As stated by SEC Chairman

Jay Clayton, “Index investing has been great for me, but my best returning investments were

actively managed funds. […] So from personal experience, I certainly would not want to get rid of

those.”83


57.      Moreover, actively managed funds provide investors with a greater ability to reduce

downside risk than do passively managed funds, including the ability to avoid extreme negative

returns. Empirical research has shown that investors have an aversion to extreme negative returns

and, if offered two investment options with the same expected return and same variance of returns,

prefer to invest in the option that has a lower likelihood of extreme negative returns.84 The table

below provides a comparison of characteristics of actively managed and passively managed funds.


81
  This is because the risk exposures of index funds are constrained to mirror those of market indices. In contrast,
actively-managed funds are not constrained to strictly mimic an index and thus, generally have more latitude and
discretion to increase or decrease the exposure of the fund to a certain asset type, market sector, or geographic
region allowed under the fund’s investment mandates. For instance, active management allows investors to have a
greater exposure to growth and value investing strategies. (Sorensen, E. H. and Fabozzi, F. J., “Growth and Value
Investing—Keeping in Style,” Handbook of Finance, 2007, DX171.)
82
  This conclusion is also supported by Pastor and Stambaugh (2002), which shows that even if there is not superior
stock-picking ability among active fund managers, investors may still benefit from holding actively-managed funds.
(Pastor, L., and Stambaugh, R.F., “Investing in Equity Mutual Funds,” Journal of Financial Economics, 63(3),
2002, DX170.0018.) Research by Baks et al. (2001) also found that even investors “with weak prior beliefs in the
possibility of [fund managers’] skill would still choose to invest some of [their] portfolio in active managers,” which
could “imply economically large investment in active management.” (Baks, K.P., et al., “Should Investors Avoid
All Actively Managed Mutual Funds? A Study in Bayesian Performance Evaluation,” Journal of Finance, LVI (1),
February 2001, DX184.0023, DX184.0029.)
83
  Michaels, D., “SEC Chairman Puts in a Good Word for Active Investing,” The Wall Street Journal, July 26, 2017,
DX195, accessed at https://www.wsj.com/articles/sec-chairman-puts-in-a-good-word-for-active-investing-
1501086299?mod=e2tw.
84
  The incidence of extreme returns for a particular investment may be measured by the returns’ skewness. An
investment with returns exhibiting a positive skew has a larger likelihood of achieving modest positive returns and a
smaller likelihood of achieving extreme negative returns (relative to an investment with returns exhibiting no


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                  Characteristics of Actively Managed vs. Passively Managed Funds

                                               Investment Management

Characteristic               Actively Managed Funds                         Passively Managed Funds
                             Attempt to outperform a specified benchmark
Objective                                                                   Track the performance of a given index.
                             or peer group.

                             Rely on portfolio managers, forecasting        Purchase all components or a representative
Strategy
                             models, and research to select investments.    sample of the given index.

                             Typically charge higher investment           Typically charge lower investment
Investment Management Fees   management fees due to active involvement of management fees due to limited/passive
                             investment manager.                          involvement of investment manager.
                                                 Investment Exposure

Characteristic               Actively Managed Funds                         Passively Managed Funds
                                                                            Provide exposure to the risks inherent in the
Variety of Exposure          Provide exposure to a wide variety of risks.
                                                                            securities and composition of a given index.

                             Generally have more latitude and discretion to
                                                                            Are constrained to mirror the risk exposure of
Ability to Adjust Exposure   adjust the fund's exposure to a certain asset
                                                                            the given index.
                             type, market sector, or geographic region.

                             Provide ability to reduce downside risk and
Downside Risk Exposure                                                      Face risks inherent with the given index.
                             avoid extreme negative returns.




58.        Given the differences in investment approach, it is expected that the expense ratios would

be different between these two types of funds and thus, passively managed funds should not be

chosen as comparators for actively managed funds without controlling for the different type and

level of services offered in exchange for their respective fees. As noted above in Section IV.C,

Dr. Pomerantz ignores the relative costs and benefits of the Actively Managed Proprietary Funds

compared to the available alternatives, including that the Actively Managed Proprietary Funds




particular skew). Actively managed mutual funds can select investments with positive skewness to help investors
avoid extreme negative returns. (Arditti, F.D., “Another look at mutual fund performance,” Journal of Financial
and Quantitative Analysis, 6(3), 1971, DX165; Kraus, A. and Litzenberger, R., “Skewness Preference and the
Valuation of Risk Assets,” The Journal of Finance, 31(4), 1976, DX166; and Scott, R.C. and Horvath, P.A., “On the
Direction of Preference for Moments of Higher Order than the Variance,” The Journal of Finance, 35(4), 1980,
DX167.)


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offer benefits not offered by index funds and the role of the Actively Managed Proprietary Funds

within Plan participants’ broader portfolios (both inside and outside of the Plan).


59.        Dr. Pomerantz’s comparison of the expense ratios of the Actively Managed Proprietary

Funds to those of his Vanguard Fee Benchmarks ignores these fundamental differences between

actively managed funds and passively managed funds. Further, Vanguard operates its index funds

at close to cost,85 rendering it even more inappropriate to compare the expense ratios of Vanguard

index funds to those of actively managed mutual funds operated by a for-profit entity, such as the

Actively Managed Proprietary and Proprietary Index Funds, with an entirely different cost

structure. As such, Dr. Pomerantz’s comparison to the Vanguard Fee Benchmarks is insufficient

to show that Actively Managed Proprietary and Proprietary Index Funds were excessively costly

or should have been removed from the Plan earlier.


                   2.      Dr. Pomerantz’s claim that Plan fiduciaries should have used SMAs or
                           CITs fails to establish that comparable SMAs or CITs were available or to
                           consider the differences in the benefits offered by mutual funds as
                           compared to SMAs or CITs

60.        Dr. Pomerantz asserts that Plan fiduciaries should have considered replacing investment

options in the Plan with SMAs or CITs, which would have been a lower cost “economic

alternative” to mutual funds.86           However, by focusing solely on a comparison of fees,

Dr. Pomerantz fails to consider important differences in the benefits offered by mutual funds as

compared to SMAs or CITs.87



85
  Vanguard Group, “Why ownership matters,” DX206, accessed at https://about.vanguard.com/what-sets-vanguard-
apart/why-ownership-matters/.
86
     Pomerantz Report, ¶ 133, PX250.
87
  I note that Dr. Pomerantz testified that mutual funds and CITs/SMAs are structurally different in that CITs/SMAs
do not usually pay revenue sharing. (Pomerantz Deposition, pp. 65-66.)


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61.     While mutual funds, CITs, and SMAs all allow for pooling of smaller amounts of money

into a larger investment pool, making diversification and professional investment management

more affordable, there are several key differences in the nature of services provided by each type

of vehicle. Among these are the differences in regulation and differences in the availability of

information.


62.     Unlike mutual funds, which are regulated under the Investment Company Act of 1940,

separate accounts and collective trusts are regulated by the Office of the Comptroller of Currency.

Mutual funds therefore have different requirements from SMAs and CITs. For example, unlike

mutual funds, SMAs and CITs are not required to have a board of directors (or trustees) of which

at least 50 percent must be independent.88


63.     Similarly, the required disclosures for SMAs and CITs, as compared to those required for

mutual funds, are different in their form, nature, or frequency. As one example, mutual funds must

provide prospectuses (which contain information about investment objectives, investment

strategies, risks, performance, corporate governance, fees, and more) to its investors, including

participants in 401(k) plans. Mutual funds must also file with the U.S. Securities and Exchange

Commission (“SEC”) on an annual basis Statements of Additional Information, which contain

extensive information on the history of the fund, officers and directors of the fund, investment

advisory services, brokerage commissions, and tax matters, among other information.89 Mutual



88
  Investment Company Act of 1940, USC Sec. 80a-10, DX200, accessed at
http://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title15-section80a-10&num=0&edition=prelim;
U.S. Securities and Exchange Commission, “Final Rule: Role of Independent Directors of Investment Companies,”
1940 Act Release No. 24816, effective February 15, 2001, DX185, accessed at http://www.sec.gov/rules/final/34-
43786.htm.
89
 U.S. Securities and Exchange Commission, “Information Available to Investment Company Shareholders,”
DX205, accessed at http://www.sec.gov/answers/mfinfo.htm.


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funds are also required to provide shareholders with annual and semi-annual reports; these reports

contain updated financial information, a list of securities held at the end of the reporting period

and other information. Moreover, these required disclosures must meet SEC mandates not only

with respect to content but also to form. These SEC requirements facilitate the comparison of

information across funds. SMAs and CITs are not subject to the same requirements. The table

below provides a comparison of characteristics of mutual funds and CITs/SMAs.


                        Characteristics of Mutual Funds vs. SMAs or CITs

Characteristic                      Mutual Funds                          SMAs/CITs
                                    Regulated under the Investment        Regulated by the Office of the
Regulatory Body
                                    Company Act of 1940.                  Comptroller of Currency.

Board of At Least 50%
                                    Required.                             Not required.
Independent Directors/Trustees

Prospectus Requirements             Required.                             Not required.

Statements of Additional
                                    Required.                             Not required.
Information

Annual and Semi-Annual Reports      Required.                             Not required.

Disclosures Must Meet SEC
                                    Required.                             Not required.
Content and Form Mandates



64.        For these reasons, mutual funds are widely viewed as having features that benefit

shareholders that CITs and SMAs do not, and thus, it is not surprising that many plan fiduciaries

elect to include mutual funds among the investment options offered to their plan participants in

their retirement plans. For example, a 2009 survey of plan sponsors found that mutual funds are

offered by 91 percent of 401(k) plans.90 In addition, mutual funds are not only offered, they are


90
     Deloitte & Touche, 401(k) Benchmarking Survey: Consumer & Industrial Products, 2009, DX172.0004.



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also selected by participants in 401(k) plans. The Investment Company Institute reports that, as

of 2009, 55 percent of 401(k) assets (approximately $1.5 trillion) were invested in mutual funds.91


65.        Dr. Pomerantz himself proposes mutual funds as reasonable alternatives that might result

from an “unconflicted process”92 for his performance comparisons.                      Dr. Pomerantz’s own

Model 1, which selects “comparable” Vanguard index funds, and Model 2, which selects the “most

popular” alternatives within a given fund category, propose mutual funds, not CITs or SMAs, as

alternatives for the Actively Managed Proprietary Funds. Thus, Dr. Pomerantz does not view

mutual funds as per se imprudent when comparing performance but implies that their inclusion

was imprudent when comparing fees.


66.        Beyond the above flaws in Dr. Pomerantz’s analysis, his own testimony renders irrelevant

his claims regarding breaches of fiduciary duty based on supposedly excessive investment

management fees relative to the Callan Fee Benchmarks. Specifically, his fee-based analysis

relative to the Callan Fee Benchmarks is premised on his claim that the Plan fiduciaries failed “to

exercise appropriate prudence …by failing to investigate the availability of separate account and

collective investment trust (CIT) vehicles as lower-cost alternatives to the existing mutual funds

in the Plan.”93 However, Dr. Pomerantz testified in his deposition that the Plan offered a stable

value option, which is a SMA, throughout the Class Period, which represented between 18 percent

and 30 percent of total Plan assets.94 Furthermore, Dr. Pomerantz also conceded that Plan


91
     Investment Company Institute, “2010 Investment Company Fact Book,” 2010, Figure 7.7, DX175.0121.
92
     Pomerantz Deposition, p. 44.
93
  Pomerantz Report, p. 5, PX250. Dr. Pomerantz testified in deposition that he considers CITs and SMAs to be the
same. (Pomerantz Deposition, p. 35.)
94
  Pomerantz Deposition, pp. 59-61; 2014 Form 5500 of the Deutsche Bank Matched Savings Plan, JX121.0150 –
JX121.0153. See, also, Exhibit 2b.



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fiduciaries in fact evaluated and replaced several investment options in the Plan with CITs during

the Class Period, including the replacement of the Dodge & Cox Balance Fund and American

Century Strategic Allocation funds with Vanguard Target Date Trusts in 2014.95 The fact that the

Plan did employ an SMA and CITs and has employed them throughout the Class Period is

contradictory to Dr. Pomerantz’s claim that Plan fiduciaries failed to consider SMAs or CITs and

therefore, his fee-based analysis relative to the Callan Fee Benchmarks is irrelevant, as it does not

correspond to the facts of this case.


67.        In summary, there are benefits that mutual funds offer investors, including 401(k)

participants, that CITs and SMAs do not, which Dr. Pomerantz fails to account for in his fee

comparisons. In addition, Dr. Pomerantz’s own performance comparisons propose mutual funds,

not CITs or SMAs, as alternatives for the Actively Managed Proprietary Funds. Furthermore, the

availability of mutual funds in the Plan was consistent with the common practice of other 401(k)

plans. Dr. Pomerantz fails to consider this evidence when opining that the failure to consider CITs

and SMAs in the Plan was “imprudent.”96 Lastly, his own testimony revealed that the Plan offered

an SMA and CITs during the Class Period, contradicting his claim that Plan fiduciaries failed to

consider CITs and SMAs.


           C.      Dr. Pomerantz’s comparison of the expense ratios of the investment options
                   in the Plan to broad Callan medians is inappropriate and misleading

68.        For his Callan fee comparison, Dr. Pomerantz compares the expense ratios of both the

proprietary and non-proprietary investment options in the Plan to the median expense ratios of



95
     Pomerantz Deposition, pp. 137-139.
96
     Pomerantz Report, ¶ 134, PX250.



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separate accounts reported by Callan.97 This fee comparison is inappropriate for the following

reasons.


69.        First, Dr. Pomerantz claims that the differences between the expense ratios of both the

proprietary and non-proprietary mutual funds in the Plan and the Callan Fee Benchmarks are

attributable to the alleged breach by the Plan fiduciaries of “failing to investigate the availability

of separate account and collective investment trust (CIT) vehicles as lower-cost alternatives to the

existing mutual funds in the Plan.”98 However, Dr. Pomerantz testified in deposition that he has

not investigated whether the investment advisers of the mutual funds in the Plan offered a CIT or

SMA version of each mutual fund.99 His analysis is therefore based on a comparison of the fees

of a hypothetical SMA or CIT with the fees of the mutual funds in the Plan. Even if the CIT or

SMA version of a mutual fund in the Plan were available, Dr. Pomerantz has not performed any

analysis to compare the fees and performance of the CIT or SMA version to those of a mutual fund

available in the Plan. He therefore cannot determine whether Plan fiduciaries did not replace the

mutual funds in the Plan because CIT or SMA version of the same fund was not available or

whether the failure to do so represented a fiduciary breach.


70.        Dr. Pomerantz also has not offered an opinion on what he would consider to be an

excessive expense ratio for a CIT or SMA; that is, he has not opined that he would consider an

expense ratio above the Callan median to be excessive for a CIT or SMA.                             Given that



97
  Pomerantz Report, ¶ 140, PX250. I note that there is an inconsistency in Dr. Pomerantz’s uses of benchmarks
between his fee-based analysis and his performance-based analysis. For his fee comparisons involving SMAs,
Dr. Pomerantz compares individual Plan options to medians. However, for his performance comparisons (Models 1
and 2), he compares performance of Plan options to performance of a single individual fund of his choice.
98
  Pomerantz Report, p. 5, PX250; Pomerantz Deposition, pp. 37-39. Dr. Pomerantz testified in deposition that he
considers CITs and SMAs to be the same. (Pomerantz Deposition, p. 35.)
99
     Pomerantz Deposition, pp. 63-64.


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Dr. Pomerantz has not opined on what would be an excessive expense ratio, he therefore has no

basis to then opine that the mutual funds in the Plan were excessively costly.


71.     Second, Dr. Pomerantz’s Callan fee comparison compares the expense ratios of the mutual

funds in the Plan to calculated expense ratios that include funds that Dr. Pomerantz has not

demonstrated to be comparable to the mutual funds in the Plan. In particular, the Callan median

expense ratios consider both actively managed and passively managed SMAs within a broad asset

category, whereas the expense ratios of the Actively Managed Proprietary Funds only reflect their

active management approach. As discussed above in Section VI.B.1, actively managed funds (or

SMAs) typically have higher expense ratios than passively managed funds (or SMAs) do.

Consequently, the inclusion of passively managed SMAs in the Callan survey biases the resulting

median expense ratio calculations downward. According to the Callan survey from which Dr.

Pomerantz derives the Callan median expense ratios, passively managed options represent over

nine percent of the equity and fixed income separate accounts surveyed in 2011.100 As a result,

the observed differences in expense ratios for the Actively Managed Proprietary Funds and the

Callan median expense ratios can be explained, at least in part, by the inclusion of passively

managed SMAs in these calculations, rather than allegedly excessive fees.


72.     Third, the broad Callan categories used to control for expense ratios across asset types do

not accurately reflect the investment strategies of some of the Plan mutual funds. This is important

because the costs of implementing different investment strategies necessarily differ and vary

depending on the strategy. Dr. Pomerantz fails to control for these differences, which biases his



100
   Callan Investments Institute, “2014 Investment Management Fee Survey: U.S. Institutional Fund Sponsors and
Investment Managers,” 2014, DX177.0027, DX177.0051-DX177.0053.



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resulting fee comparison. For example, Dr. Pomerantz assigns nine funds to the Callan “U.S.

Equity” category, regardless of the funds’ market capitalization, geographical focus and sector

emphasis, even though these characteristics affect the fund’s expenses. 101 For instance, Royce

Small Cap Value focuses on small U.S. companies with stock market capitalizations up to $3

billion,102 while Deutsche Capital Growth focuses on large U.S. companies with stock market

capitalization similar to the members of the S&P 500 and Russell 1000.103 In general, a fund with

a strategy focusing on small cap equities would have different costs to implement, and thus a

different expense ratio, than a fund with a strategy focusing on large cap equities. Despite the

differences in market capitalization focuses between these two funds, Dr. Pomerantz compares

these Plan investment options to the same Callan “U.S. Equity” category median expense ratio.


73.        Furthermore, Dr. Pomerantz also compares the expense ratios of the proprietary investment

options in the Plan to expense ratios of the “average 401(k) plan with a similar level of assets,” as

reported by ICI.104 This comparison suffers from the same two criticisms that I discussed

immediately above in paragraphs 71 and 72. Moreover, the ICI average expense ratio is not a pure

reflection of the investment lineup selected by plan fiduciaries, as Dr. Pomerantz purports it to be.

Rather, it is a weighted average based on the allocation of assets of plans in the ICI database, which

in turn depends on the investment decisions made by individual participants in those plans.105 As



101
  The nine investment options in the Plan that Dr. Pomerantz assigns to the “U.S. Equity” Callan category are the
Deutsche Capital Growth Fund, the Deutsche Large Cap Value Fund, the Deutsche Real Estate Securities Fund, the
Lord Abbett Dev Growth I, the GS Midcap Value Inst, the Thornburg Core Growth R5, the Wells Fargo Small Cap
Growth, the MFS Value R4, and the Royce Small Cap Value Inst. (Pomerantz Report, Exhibit 4, p. 88, PX250.)
102
      Royce Small-Cap Value Fund Summary Prospectus, May 1, 2017, DX141.
103
      Deutsche Capital Growth Fund Supplement to Summary Prospectus, February 1, 2017, DX140.
104
      Pomerantz Report, ¶ 136, PX250.
105
  BrightScope and ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans
2014,” December 2016, Exhibit 4.5, JX137.0053; Pomerantz Report, ¶¶ 136-139, PX250.


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such, the individual investment selections and allocations by participants in ICI-surveyed plans

influence the ICI average expense ratio in ways that are not relevant to fiduciaries of the Plan. For

example, if participants in ICI-surveyed plans chose to hold more assets in passively managed

funds relative to actively managed funds, the ICI average expense ratio would be biased

downwards because passively managed funds typically have lower expense ratios. The resulting

ICI average expense ratio reflects what participants chose to invest in, rather than solely the

expense ratios of investment options that ICI-surveyed plan fiduciaries made available in their plan

investment lineups.


74.    Finally, I note that five of the seven Pomerantz Benchmarks that Dr. Pomerantz uses in his

Model 2 performance-based analysis had expense ratios that exceeded Dr. Pomerantz’s chosen ICI

benchmarks during the majority of the Class Period (as shown in the table below). The Dodge &

Cox International Fund had a higher expense ratio than Dr. Pomerantz’s chosen ICI benchmark

from 2013 to 2016. The Fidelity Contrafund, the PIMCO Total Return Fund, the Fidelity Capital

& Income Fund, and the Dodge & Cox Stock Fund had higher expense ratios than Dr. Pomerantz’s

chosen ICI benchmarks for each of those funds in every year from 2010 to 2016. For this period,

the Fidelity Capital & Income Fund, for example, had an expense ratio of 71 to 77 basis points

compared to Dr. Pomerantz’s chosen ICI benchmark of 30 to 36 basis points.




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             Comparison of the Expense Ratios of Dr. Pomerantz's Model 2 Benchmarks to His ICI Benchmarks
                                                                          2010 - 2016

                                                                                                                                           Dr. Pomerantz's
                                                                                                                                          Alternative is Above
                                                                                                                                           ICI Benchmark a
Model 2 Pomerantz Alternative                         2010        2011        2012        2013        2014        2015        2016         Majority of Years
Fidelity Contrafund                                   0.910       0.810       0.740       0.660       0.640       0.710       0.680
                                                                                                                                                   Yes
    ICI Benchmark Fees: Domestic Equity               0.518       0.486       0.454       0.422       0.390       0.390       0.390
                                                                                                                                                (100.0% )
    Difference                                        0.392       0.324       0.286       0.238       0.250       0.320       0.290
PIMCO Total Return Fund;Institutional                 0.460       0.460       0.460       0.460       0.460       0.460       0.460
                                                                                                                                                   Yes
   ICI Benchmark Fees: Domestic Fixed Income          0.364       0.348       0.332       0.316       0.300       0.300       0.300
                                                                                                                                                (100.0% )
   Difference                                         0.096       0.112       0.128       0.144       0.160       0.160       0.160
Dodge & Cox International Stock Fund                  0.650       0.640       0.640       0.640       0.640       0.640       0.640
                                                                                                                                                  Yes
   ICI Benchmark Fees: International Equity           0.734       0.688       0.642       0.596       0.550       0.550       0.550
                                                                                                                                                (57.1% )
   Difference                                        -0.084      -0.048      -0.002       0.044       0.090       0.090       0.090
American Funds New Perspective Fund;R5                0.510       0.510       0.500       0.500       0.490       0.490       0.500
                                                                                                                                                   No
   ICI Benchmark Fees: International Equity           0.734       0.688       0.642       0.596       0.550       0.550       0.550
                                                                                                                                                 (0.0%)
   Difference                                        -0.224      -0.178      -0.142      -0.096      -0.060      -0.060      -0.050
Fidelity Capital & Income Fund                        0.760       0.760       0.770       0.730       0.710       0.720       0.750
                                                                                                                                                   Yes
    ICI Benchmark Fees: Domestic Fixed Income         0.364       0.348       0.332       0.316       0.300       0.300       0.300
                                                                                                                                                (100.0% )
    Difference                                        0.396       0.412       0.438       0.414       0.410       0.420       0.450
Dodge & Cox Stock Fund                                0.520       0.520       0.520       0.520       0.520       0.520       0.520
                                                                                                                                                   Yes
   ICI Benchmark Fees: Domestic Equity                0.518       0.486       0.454       0.422       0.390       0.390       0.390
                                                                                                                                                (100.0% )
   Difference                                         0.002       0.034       0.066       0.098       0.130       0.130       0.130
TIAA-CREF Real Estate Securities Fund;Inst            0.560       0.570       0.540       0.530       0.520       0.520       0.470
                                                                                                                                                   No
   ICI Benchmark Fees: Other                          0.744       0.698       0.652       0.606       0.560       0.560       0.560
                                                                                                                                                 (0.0%)
   Difference                                        -0.184      -0.128      -0.112      -0.076      -0.040      -0.040      -0.090

                                                              Number of Dr. Pomerantz's Model 2 Alternatives Above ICI Benchmark:                  5/7
Sources:
BrightScope & ICI, "The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2014," December 2016, JX_137; Lipper for Investment
Management.




75.        In sum, Dr. Pomerantz’s use of ICI benchmarks suffers from some of the same flaws as his

Callan comparison (the value he uses mixes expense ratios for active and passive funds or SMAs,

and he misaligns subject funds’ investment categories and those used by ICI). In addition, many

of Dr. Pomerantz’s own Model 2 comparators had expense ratios higher than the ICI average

expense ratios. His ICI comparison therefore also is insufficient to demonstrate that the Actively

Managed Proprietary Funds offered in the Plan were excessively costly.


           D.           The expense ratios of the proprietary investment options in the Plan were
                        within the range of peer funds

76.        While it is not meaningful to evaluate cost without taking into account the benefits

associated with those costs, documents in the record indicate that the expense ratios of the


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investment options in the Plan are consistent with those of peer mutual funds. From an economic

perspective, the investment options in the Plan were offered to investors in the general marketplace

of an industry that exhibits the structural characteristics of a competitive market.106 Therefore, the

fees of peer mutual funds provide an appropriate comparison group for the fees of the investment

options in the Plan for purposes of determining whether the fees were excessively high which

could indicate that the inclusion of the Proprietary Funds was imprudent.


77.        [Content omitted] As part of the 15(c) process, Lipper conducted an annual [Content

omitted] analysis that benchmarks the expense ratios of the proprietary mutual funds in the Plan

to those of their Lipper peer group.107 [Content omitted] For example, the Lipper expense report

provided in the 2012 15(c) materials showed that all but three of the nine proprietary funds then

remaining in the Plan had total net expenses equal to or less than the median for their respective

Lipper peer groups.108 [Content omitted]109


                                               [Content omitted]




106
   The structure of the mutual fund industry provides protection against the excessive fees alleged by Plaintiffs.
Investors are currently able to choose from among a very large numbers of funds. As of 2016, 850 advisers offered
8,066 mutual funds. (Investment Company Institute, “2017 Investment Company Factbook,” 2017, DX182.0034,
DX182.0192.) Substantial research has also shown that investor demand for mutual funds is sensitive to fund
returns, net of fees. (Capon, N., et al., “An Individual Level Analysis of Mutual Fund Investment Decision,” Journal
of Financial Services Research, 1996, DX168.0010; Sirri, E. and Tufano, P., “Costly Search and Mutual Fund
Flows,” The Journal of Finance, 53(5), 1998, JX139.0010-JX139.0011; and Khorana, A., and Servaes, H.,
“Conflicts of Interest and Competition in the Mutual Fund Industry,” Social Science Research Network, July 2004,
DX188.0022.)
107
  See generally infra ¶¶ 44 and 45; [Content omitted] see also DWS Funds Board Annual Contract Review 2012,
Book II. Expense Reports Fund-by-Fund Lipper 15(c) Reports, DX154.0010 – DX154.0013).
108
  The three other funds are the Deutsche EAFE Equity Index Fund, the Deutsche Core Fixed Income Fund, and the
Deutsche Global Growth Fund. (DWS Funds Board Annual Contract Review 2012, Book II. Expense Reports
Fund-by-Fund Lipper 15(c) Reports, DX154.)
109
      [Content omitted]



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78.        In addition, Dr. Pomerantz fails to consider that the expense ratios for the Deutsche Capital

Growth Fund and the Deutsche High Income Fund as of December 2009 were, in fact, lower than

the expense ratios of their respective Model 2 Pomerantz Benchmarks, as shown in Exhibit 5.

Dr. Pomerantz never reconciles this apparent conflict between his Model 2 Pomerantz Benchmarks

and his claim that the Actively Managed Proprietary Funds were “excessively-costly.”110


79.        In sum, the expense ratios of proprietary options were [Content omitted], in some cases,

lower than Dr. Pomerantz’s own selected alternative funds. Dr. Pomerantz fails to consider this

evidence, which runs counter to his claim that the Proprietary Funds were excessively costly.


VII.       Dr. Pomerantz Fails to Establish that the Inclusion of the Proprietary Index Funds
           Was Imprudent or that their Selection Was Detrimental to Plan Participants

80.        Dr. Pomerantz also opines that “[b]y retaining the proprietary index funds in the Plan from

December 2009 until February 2013, the Plan’s fiduciaries failed to manage the Plan with the level

of prudence or loyalty that a fiduciary managing a similar defined contribution plan would have

exhibited.”111 These three proprietary index funds were the DWS EAFE Equity Index Fund, the

DWS Equity 500 Index Fund, and the DWS U.S. Bond Index Fund (collectively, the “Proprietary

Index Funds”).          Dr. Pomerantz claims that the inclusion of the Proprietary Index Funds

“[d]emonstrates the Plan [f]iduciaries’ [d]isloyalty” because: (1) they were “[h]igh-[c]ost;” and

(2) they may have “fail[ed] to accurately track their index.”112




110
      Pomerantz Report, ¶ 9, PX250.
111
      Pomerantz Report, ¶ 71, PX250.
112
      Pomerantz Report, p. 25, ¶ 68, PX250.


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81.        Dr. Pomerantz’s opinion that the Proprietary Index Funds were excessively expensive is

based on Dr. Pomerantz’s selection and comparison to alternative funds that have the lowest fees

within their respective Morningstar categories. [Content edited to conform with original report:]

His analysis ignores that the expense ratios of all but three of the nine proprietary funds in the Plan

in 2012, including two of the Proprietary Index Funds, were equal to or below the median of

expense ratios of their respective Lipper peers according to Lipper’s analysis conducted as part of

the 15(c) process discussed in paragraph 77 above. [Content omitted]113 By selecting the single

lowest-fee alternative to evaluate the expense ratio of each Proprietary Index Fund, Dr. Pomerantz

has only demonstrated that a lower fee alternative was available, not that the fees associated with

the Proprietary Index Funds were excessive or that the inclusion of these Proprietary Index Funds

was imprudent. Because the expense ratios of the Proprietary Index Funds fall well within the

distribution of the expense ratios of their respective Lipper peers, Dr. Pomerantz has not shown

that retaining these funds was imprudent.


82.        Dr. Pomerantz also claims that the inclusion of the Proprietary Index Funds was a breach

of fiduciary duty because they may have “fail[ed] to accurately track their index” (i.e., the tracking

error of the Proprietary Index Funds was too high).114 However, Dr. Pomerantz testified during

his deposition that he does not have an opinion about whether an index fund with a tracking error

relative to the actual index is an imprudent choice. In other words, he has no opinion on whether

any “tracking error” he might observe for the Proprietary Index Funds demonstrates a fiduciary




113
  DWS Funds Board Annual Contract Review 2012, Book II. Expense Reports Fund-by-Fund Lipper 15(c)
Reports, DX154.0035, DX154.0044, and DX154.0200.
114
      Pomerantz Report, ¶ 68, PX250.



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breach.115       Thus, Dr. Pomerantz’s opinions on “tracking error” are irrelevant as they are

unsupported and disconnected from any claims regarding fiduciary breaches.116


83.        In sum, Dr. Pomerantz has not shown that the Proprietary Index Funds either had excessive

fees or had excessive tracking error relative to their peers. As a result, he has failed to support his

opinion that the inclusion of these funds was imprudent.


VIII. [Content omitted]




I declare under penalty that the foregoing is true and correct.
Executed on July 2, 2018




115
      Pomerantz Deposition, pp. 178-182.
116
   Nevertheless, even if he offered an opinion that a fund with tracking error represents an imprudent choice,
Dr. Pomerantz fails to consider whether the Proprietary Index Funds had tracking errors significantly greater than
those of their respective peers. As shown in Exhibit 8, the tracking error of each Proprietary Index Fund typically
was at or below the median tracking error of other index funds that track the same index as the Proprietary Index
Funds. As such, Dr. Pomerantz has not established that the Proprietary Index Funds had excessive tracking error, or
that they otherwise failed to accurately track their index. He has therefore failed to demonstrate that the Proprietary
Index Funds’ tracking error demonstrates that their inclusion was imprudent.


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                     EXHIBIT 1
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                                                                                Exhibit 1

                                                              Deutsche Bank Matched Savings Plan
                                                                        Plan Summary
                                                                             2009 - Q1 2017

                                                             2009        2010         2011         2012         2013          2014         2015         2016     Q1 2017


Total Contributions (in millions)
                                    [3]
                                                            $162.7     $172.7       $179.8       $178.3       $171.8        $177.0       $196.7       $215.9         --
                        [4]
Number of Participants
   Active Participants                                      11,682     11,638       11,586       10,872       10,508        10,075       10,819       10,509         --
   Retired, Separated, or Deceased Participants             10,974     11,330       10,732       11,050       10,645         9,943        9,869        9,747         --
   Total                                                    22,656     22,968       22,318       21,922       21,153        20,018       20,688       20,256         --

Total Plan Assets ($ in millions)                           $1,903     $2,112       $2,093       $2,317       $2,731        $2,838       $2,760       $2,880     $3,037

Average Assets per Participant ($ in thousands)               $84         $92          $94         $106         $129          $142         $133         $142         --

Total Proprietary Funds Offered in Plan Lineup                 10          10             9            9            6             6            6            4        3

Total Funds Offered in Plan Lineup
                                          [5]
                                                               22          21            20           20           18           18           18             16      16


Notes:
[1] Participant level account balance observations for which the investment option identifier was blank were excluded from this analysis.
[2] Data are as of year-end for all years except 2017, which are as of March 31.
[3] Total contributions include employee contributions, employer contributions and rollovers.
[4] Taken from Deutsche Bank Matched Savings Plan Form 5500s.
[5] Brokerage Fund Options/Self-Directed Brokerage are omitted from the count. Target-date funds in the same series are counted as one investment option.
Sources:
MSP Participant Account Balance Data, DX057; Deutsche Bank Matched Savings Plan Form 5500s, DX150, JX116, JX117, JX118, JX119, JX120, JX121, JX122,
JX209; Fidelity Trial Balance DB MSP January 1, 2017 to January 31, 2017, DX142.0003; 2017-04 Trial Balance, JX138.0003.
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                    EXHIBIT 2a
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                                                              Exhibit 2a

                                          Deutsche Bank Matched Savings Plan
                                 Assets in Millions Invested In Each Investment Option
                                                            Q4 2009 - Q1 2017
                                                                                    As of December 31,                             As of
                                                                                                                                  Mar. 31,
                                                             2009   2010     2011     2012     2013      2014    2015     2016     2017

Proprietary Mutual Funds [2]
  Deutsche Capital Growth Fund                                $77    $88      $81      $91     $119      $132    $154     $139         -
  Deutsche Core Fixed Income Fund                             $51    $56      $59      $66      $57       $58     $57      $60       $61
  Deutsche CROCI International Fund                           $11    $12        -        -        -         -       -        -         -
  Deutsche Global Growth Fund                                 $15    $16      $14      $15      $19       $17     $18        -         -
  Deutsche High Income Fund                                   $20    $23      $27      $42      $41       $42     $35      $40       $41
  Deutsche Large Cap Value Fund                               $70    $75      $72      $76      $95      $101     $86        -         -
  Deutsche Real Estate Securities Fund                        $46    $64      $73      $91      $87      $107    $104     $106      $102
  DWS EAFE Equity Index Fund                                  $55    $56      $46      $51        -         -       -        -         -
  DWS Equity 500 Index Fund                                  $312   $355     $345     $388        -         -       -        -         -
  DWS U.S. Bond Index Fund                                    $50    $54      $59      $63        -         -       -        -         -
  Total Proprietary Mutual Funds                             $705   $797     $776     $883     $418      $457    $453     $345      $204

Non-Proprietary Mutual Funds
  American Century Strategic Allocation Aggressive Fund       $37    $47      $48      $55         -        -        -        -        -
  American Century Strategic Allocation Conservative Fund     $16    $18      $20      $24         -        -        -        -        -
  American Century Strategic Allocation Moderate Fund         $18    $23      $24      $28         -        -        -        -        -
  AMG Timesquare Mid Cap Growth Fund                            -      -        -        -         -        -        -        -      $86
  Dodge & Cox Balanced Fund                                  $175   $207     $292     $351         -        -        -        -        -
  Dodge & Cox International Stock Fund                       $136   $153     $126     $143      $179     $173     $143     $137     $154
  Goldman Sachs Mid Cap Value Fund                            $19    $40      $46      $56       $88     $103      $84      $85        -
  Janus INTECH Risk-Managed Growth Fund                        $3      -        -        -         -        -        -        -        -
  Lord Abbett Developing Growth Fund                            -      -     $101     $108      $175     $170     $151     $141     $150
  MFS Value Fund                                               $1     $3       $5       $6       $18      $19      $29     $131     $133
  Primecap Odyssey Growth Fund                                  -      -        -        -         -        -        -        -     $152
  Royce Small Cap Value Fund                                   $9    $16      $20      $19       $22      $22      $18        -        -
  T. Rowe Price Institutional Global Growth Equity Fund         -      -        -        -         -        -        -      $17      $20
  Thornburg Core Growth Fund                                 $102   $102        -        -         -        -        -        -        -
  Vanguard Extended Market Index Fund                           -      -        -        -       $20      $28      $36      $50      $61
  Vanguard Institutional Index Fund                             -      -        -        -      $491     $532     $515     $557     $596
  Vanguard Total Bond Market Index Fund                         -      -        -        -       $55      $57      $58      $63      $64
  Vanguard Total International Stock Index Fund                 -      -        -        -       $62      $57      $56      $64      $71
  Wells Fargo Advisors Small Cap Growth Fund                  $85   $113        -        -         -        -        -        -        -
  William Blair International Growth Fund                       -      -      $11      $16       $24      $22      $25      $23      $26
  Total Non-Proprietary Mutual Funds                         $601   $721     $693     $807    $1,133   $1,184   $1,114   $1,268   $1,514

Non-Proprietary Trust Options[3]
  Vanguard Target Retirement 2010 Trust I                       -       -       -         -     $10       $10      $9       $9        $8
  Vanguard Target Retirement 2015 Trust I                       -       -       -         -     $23       $43     $35      $33       $27
  Vanguard Target Retirement 2020 Trust I                       -       -       -         -     $44       $45     $44      $45       $47
  Vanguard Target Retirement 2025 Trust I                       -       -       -         -     $80       $83     $83      $88       $93
  Vanguard Target Retirement 2030 Trust I                       -       -       -         -    $101      $109    $105     $113      $124
  Vanguard Target Retirement 2035 Trust I                       -       -       -         -     $90       $95     $93     $100      $109
  Vanguard Target Retirement 2040 Trust I                       -       -       -         -     $77       $83     $86      $97      $108
  Vanguard Target Retirement 2045 Trust I                       -       -       -         -     $61       $67     $68      $78       $90
  Vanguard Target Retirement 2050 Trust I                       -       -       -         -     $40       $46     $51      $63       $74
  Vanguard Target Retirement 2055 Trust I                       -       -       -         -     $16       $20     $23      $30       $38
  Vanguard Target Retirement 2060 Trust I                       -       -       -         -      $2        $3      $5      $10       $14
  Vanguard Target Retirement Income Trust I                     -       -       -         -      $7        $8      $6       $7        $7
  Total Non-Proprietary Trust Options                           -       -       -         -    $552      $611    $609     $674      $739



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                                                                    Exhibit 2a

                                            Deutsche Bank Matched Savings Plan
                                   Assets in Millions Invested In Each Investment Option
                                                                Q4 2009 - Q1 2017
                                                                                              As of December 31,                                    As of
                                                                                                                                                   Mar. 31,
                                                                  2009       2010      2011      2012       2013      2014      2015      2016      2017

DB Stable Value Fund                                              $565       $561      $590      $589      $584       $542      $536      $549       $535

Self-Directed Brokerage Account                                     $31       $32       $35        $38       $44       $43       $47        $44       $45

Total Plan Assets                                               $1,903     $2,112    $2,093    $2,317    $2,731     $2,838    $2,760    $2,880     $3,037


Notes:
[1] Participant level account balance observations for which the investment option identifier was blank were excluded from this analysis.
[2] Proprietary Mutual Funds are identified as mutual funds where the Fund Management Company Name is listed as “Deutsche Asset & Wealth Management” in
Lipper. Note that this excludes the DB Stable Value Fund, which is a collective investment trust and was sold by Deutsche Asset Management to Goldman Sachs on
March 6, 2014.
[3] The Vanguard Target Date investment options are collective investment trusts, not mutual funds (Deutsche Bank Matched Savings Plan Participant Disclosure
Notice, September 9, 2014, p. 12).
[4] “-” indicates that the investment option was not in the Plan during the given period.
Sources:
MSP Participant Account Balance Data, DX057; Deutsche Bank Matched Savings Plan Participant Disclosure Notice, September 9, 2014, DX058; Lipper for
Investment Management; Discretionary Advisory Agreement between GSAM Stable Value, LLC and Deutsche Bank Americas Holding Corp dated March 6, 2014,
DX238; Deutsche Bank Matched Savings Plan Quarterly Investment Review, Fourth Quarter 2015, JX183; Deutsche Bank Matched Savings Plan Form 5500, 2016,
DX150; Fidelity Trial Balance DB MSP January 1, 2017 to January 31, 2017, DX142.0003; 2017-04 Trial Balance, JX138.0003.




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                                                              Exhibit 2b

                                              Deutsche Bank Matched Savings Plan
                                       Percent of Assets Invested In Each Investment Option
                                                            Q4 2009 - Q1 2017
                                                                                       As of December 31,                               As of
                                                                                                                                       Mar. 31,
                                                             2009     2010     2011      2012     2013       2014     2015     2016     2017
                           [2]
Proprietary Mutual Funds
  Deutsche Capital Growth Fund                               4.0%     4.2%     3.9%      3.9%     4.3%       4.7%     5.6%     4.8%         -
  Deutsche Core Fixed Income Fund                            2.7%     2.6%     2.8%      2.8%     2.1%       2.0%     2.1%     2.1%     2.0%
  Deutsche CROCI International Fund                          0.6%     0.6%         -         -        -          -        -        -        -
  Deutsche Global Growth Fund                                0.8%     0.8%     0.7%      0.7%     0.7%       0.6%     0.7%         -        -
  Deutsche High Income Fund                                  1.1%     1.1%     1.3%      1.8%     1.5%       1.5%     1.3%     1.4%     1.4%
  Deutsche Large Cap Value Fund                              3.7%     3.5%     3.4%      3.3%     3.5%       3.5%     3.1%         -        -
  Deutsche Real Estate Securities Fund                       2.4%     3.0%     3.5%      3.9%     3.2%       3.8%     3.8%     3.7%     3.3%
  DWS EAFE Equity Index Fund                                 2.9%     2.6%     2.2%      2.2%         -          -        -        -        -
  DWS Equity 500 Index Fund                                 16.4%    16.8%    16.5%     16.7%         -          -        -        -        -
  DWS U.S. Bond Index Fund                                   2.6%     2.5%     2.8%      2.7%         -          -        -        -        -
  Total Proprietary Mutual Funds                            37.1%    37.7%    37.1%     38.1%    15.3%      16.1%    16.4%    12.0%     6.7%

Non-Proprietary Mutual Funds
  American Century Strategic Allocation Aggressive Fund      2.0%     2.2%     2.3%      2.4%         -          -        -        -        -
  American Century Strategic Allocation Conservative Fund    0.9%     0.9%     1.0%      1.0%         -          -        -        -        -
  American Century Strategic Allocation Moderate Fund        1.0%     1.1%     1.1%      1.2%         -          -        -        -        -
  AMG Timesquare Mid Cap Growth Fund                             -        -        -         -        -          -        -        -    2.8%
  Dodge & Cox Balanced Fund                                  9.2%     9.8%    13.9%     15.1%         -          -        -        -        -
  Dodge & Cox International Stock Fund                       7.2%     7.3%     6.0%      6.2%     6.6%       6.1%     5.2%     4.8%     5.1%
  Goldman Sachs Mid Cap Value Fund                           1.0%     1.9%     2.2%      2.4%     3.2%       3.6%     3.0%     2.9%         -
  Janus INTECH Risk-Managed Growth Fund                      0.2%         -        -         -        -          -        -        -        -
  Lord Abbett Developing Growth Fund                             -        -    4.8%      4.7%     6.4%       6.0%     5.5%     4.9%     4.9%
  MFS Value Fund                                             0.0%     0.1%     0.2%      0.3%     0.7%       0.7%     1.1%     4.6%     4.4%
  Primecap Odyssey Growth Fund                                   -        -        -         -        -          -        -        -    5.0%
  Royce Small Cap Value Fund                                 0.5%     0.7%     0.9%      0.8%     0.8%       0.8%     0.6%         -        -
  T. Rowe Price Institutional Global Growth Equity Fund          -        -        -         -        -          -        -    0.6%     0.7%
  Thornburg Core Growth Fund                                 5.3%     4.8%         -         -        -          -        -        -        -
  Vanguard Extended Market Index Fund                            -        -        -         -    0.7%       1.0%     1.3%     1.7%     2.0%
  Vanguard Institutional Index Fund                              -        -        -         -   18.0%      18.8%    18.6%    19.3%    19.6%
  Vanguard Total Bond Market Index Fund                          -        -        -         -    2.0%       2.0%     2.1%     2.2%     2.1%
  Vanguard Total International Stock Index Fund                  -        -        -         -    2.3%       2.0%     2.0%     2.2%     2.3%
  Wells Fargo Advisors Small Cap Growth Fund                 4.5%     5.4%         -         -        -          -        -        -        -
  William Blair International Growth Fund                        -        -    0.5%      0.7%     0.9%       0.8%     0.9%     0.8%     0.8%
  Total Non-Proprietary Mutual Funds                        31.6%    34.1%    33.1%     34.8%    41.5%      41.7%    40.4%    44.0%    49.9%

                                 [3]
Non-Proprietary Trust Options
  Vanguard Target Retirement 2010 Trust I                        -        -        -         -    0.4%       0.3%     0.3%     0.3%     0.3%
  Vanguard Target Retirement 2015 Trust I                        -        -        -         -    0.8%       1.5%     1.3%     1.2%     0.9%
  Vanguard Target Retirement 2020 Trust I                        -        -        -         -    1.6%       1.6%     1.6%     1.6%     1.5%
  Vanguard Target Retirement 2025 Trust I                        -        -        -         -    2.9%       2.9%     3.0%     3.1%     3.1%
  Vanguard Target Retirement 2030 Trust I                        -        -        -         -    3.7%       3.8%     3.8%     3.9%     4.1%
  Vanguard Target Retirement 2035 Trust I                        -        -        -         -    3.3%       3.4%     3.4%     3.5%     3.6%
  Vanguard Target Retirement 2040 Trust I                        -        -        -         -    2.8%       2.9%     3.1%     3.4%     3.6%
  Vanguard Target Retirement 2045 Trust I                        -        -        -         -    2.2%       2.4%     2.5%     2.7%     3.0%
  Vanguard Target Retirement 2050 Trust I                        -        -        -         -    1.5%       1.6%     1.9%     2.2%     2.4%
  Vanguard Target Retirement 2055 Trust I                        -        -        -         -    0.6%       0.7%     0.8%     1.1%     1.2%
  Vanguard Target Retirement 2060 Trust I                        -        -        -         -    0.1%       0.1%     0.2%     0.3%     0.5%
  Vanguard Target Retirement Income Trust I                      -        -        -         -    0.3%       0.3%     0.2%     0.2%     0.2%
  Total Non-Proprietary Trust Options                            -        -        -         -   20.2%      21.5%    22.1%    23.4%    24.3%



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                    EXHIBIT 2b
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                                                                   Exhibit 2b

                                          Deutsche Bank Matched Savings Plan
                                   Percent of Assets Invested In Each Investment Option
                                                                Q4 2009 - Q1 2017
                                                                                              As of December 31,                                    As of
                                                                                                                                                   Mar. 31,
                                                                  2009       2010      2011      2012       2013      2014      2015      2016      2017

DB Stable Value Fund                                             29.7%     26.6%     28.2%      25.4%     21.4%     19.1%     19.4%      19.1%     17.6%

Self-Directed Brokerage Account                                   1.6%      1.5%       1.7%      1.6%      1.6%       1.5%      1.7%      1.5%       1.5%

Total Plan Assets                                                 100%      100%      100%      100%       100%      100%      100%      100%       100%


Notes:
[1] Participant level account balance observations for which the investment option identifier was blank were excluded from this analysis.
[2] Proprietary Mutual Funds are identified as mutual funds where the Fund Management Company Name is listed as “Deutsche Asset & Wealth Management” in
Lipper. Note that this excludes the DB Stable Value Fund, which is a collective investment trust and was sold by Deutsche Asset Management to Goldman Sachs on
March 6, 2014.
[3] The Vanguard Target Date investment options are collective investment trusts, not mutual funds (Deutsche Bank Matched Savings Plan Participant Disclosure
Notice, September 9, 2014, p. 12).
[4] “-” indicates that the investment option was not in the Plan during the given period.
Sources:
MSP Participant Account Balance Data, DX057; Deutsche Bank Matched Savings Plan Participant Disclosure Notice, September 9, 2014, DX058; Lipper for
Investment Management; Discretionary Advisory Agreement between GSAM Stable Value, LLC and Deutsche Bank Americas Holding Corp dated March 6, 2014,
DX238; Deutsche Bank Matched Savings Plan Quarterly Investment Review, Fourth Quarter 2015, JX183; Deutsche Bank Matched Savings Plan Form 5500, 2016,
DX150; Fidelity Trial Balance DB MSP January 1, 2017 to January 31, 2017, DX142.0003; 2017-04 Trial Balance, JX138.0003.




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                     EXHIBIT 3
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                                                                                                Exhibit 3

                 Distribution of Deutsche Bank Matched Savings Plan Participants By Number of Investment Options Held in the Plan
                                                                                                2009 - 2016
                                 2009                   2010                   2011                   2012                   2013                   2014                   2015                2016
    Number of
   Options Held          Number Percent Number Percent Number Percent Number Percent Number Percent Number Percent Number Percent Number Percent
          1               6,528    30%    7,097   32%    6,783   32%   7,133    34%    6,949   34%   7,460    36%    7,849   37%    8,106   38%
         2-5                9,944        46%       9,682        44%       9,575        45%       9,140        43%       9,172        44%       8,581        41%       8,283        39%     8,222      38%
        6 - 10              4,475        21%       4,504        20%       4,279        20%       4,212        20%       3,928        19%       3,721        18%       3,649        17%     3,561      17%
       11 - 15                655         3%         680         3%         650         3%         637         3%         530         3%         887          4%      1,397          7%    1,513      7%
       16 - 20                 87         0%         109         0%         120         1%         143         1%           78        0%           69         0%          80         0%      23       0%
         20+                   20         0%            8        0%            0        0%            0        0%            --         --          --         --          --         --       --      --
Total Funds Offered in
Plan Lineup                       22                     21                     20                     20                     18                     18                     18                 16

Notes:
[1] Brokeragelink accounts and Self-Directed Brokerage Accounts are not included in Number of Options Held/Offered. Participants invested only in these options are not included in this
analysis.
[2] Data are as of year-end for all years except 2016, which are as of September 30.
[3] Target-date funds in the same series are counted as one investment option.
Source:
MSP Participant Account Balance Data, DX057.
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                     EXHIBIT 4
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                                                                    Exhibit 4

                                         Comparison of the Prospectus Benchmark
                        of the Actively Managed Proprietary Funds and the Pomerantz Benchmarks
                                                          January 2010 - September 2017

                                                                                                                               Annualized
                                                                                                                                Return of
                                                                                                                               Prospectus
                         Fund Name                                        Prospectus Benchmark[2]                             Benchmark[3]

     Actively Managed
1.                       Deutsche Capital Growth Fund                     Russell 1000 Growth TR USD                            14.45%
     Proprietary Fund

                                                                          MSCI US Prime Market Growth Index / CRSP US Large
     Model 1             Vanguard Growth Index Fund;Institutional                                                               14.14%
                                                                          Cap Growth TR USD

     Model 2             Fidelity Contrafund                              S&P 500 TR USD                                        13.46%


     Actively Managed
2.                       Deutsche Core Fixed Income Fund                  BBgBarc US Agg Bond TR USD                             3.68%
     Proprietary Fund

     Model 1             Vanguard Total Bond Market Index Fund;Inst       BBgBarc US Agg Float Adj TR USD                        3.71%


     Model 2             PIMCO Total Return Fund;Institutional            BBgBarc US Agg Bond TR USD                             3.68%


     Actively Managed
3.                       Deutsche CROCI International Fund                MSCI EAFE NR USD                                       8.56%
     Proprietary Fund

                         Vanguard Total International Stock Index         MSCI EAFE&EM NR USD / MSCI ACWI Ex USA NR
     Model 1                                                                                                                     9.51%
                         Fund;Inst                                        USD / FTSE Global All Cap ex US (USA) NR USD

     Model 2             Dodge & Cox International Stock Fund             MSCI EAFE NR USD                                       8.56%


     Actively Managed
4.                       Deutsche Global Growth Fund                      MSCI World NR USD                                      7.87%
     Proprietary Fund

                                                                          FTSE All World NR USD / FTSE Global All Cap (US
     Model 1             Vanguard Total World Stock Index Fund;Inst                                                               N/A
                                                                          RIC) NR USD

     Model 2             American Funds New Perspective Fund;R5           MSCI World NR USD / MSCI ACWI NR USD                   6.76%


     Actively Managed                                                     Credit Suisse HY USD / BofAML US HY Master II
5.                       Deutsche High Income Fund                                                                               7.95%
     Proprietary Fund                                                     Constnd TR USD

     Model 1             BofAML US HY Master II Constnd TR USD            n/a - prospectus benchmark                             8.13%


     Model 2             Fidelity Capital & Income Fund                   BofAML US HY Master II Constnd TR USD                  8.13%




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                                                                             Exhibit 4

                                            Comparison of the Prospectus Benchmark
                           of the Actively Managed Proprietary Funds and the Pomerantz Benchmarks
                                                                 January 2010 - September 2017

                                                                                                                                                         Annualized
                                                                                                                                                          Return of
                                                                                                                                                         Prospectus
                              Fund Name                                               Prospectus Benchmark[2]                                           Benchmark[3]

       Actively Managed
  6.                          Deutsche Large Cap Value Fund                           Russell 1000 Value TR USD                                            11.97%
       Proprietary Fund

                                                                                      MSCI US Prime Market Value Index / CRSP US Large
       Model 1                Vanguard Value Index Fund;Institutional                                                                                      12.24%
                                                                                      Cap Value TR USD

       Model 2                Dodge & Cox Stock Fund                                  S&P 500 TR USD                                                       12.98%


       Actively Managed
  7.                          Deutsche Real Estate Securities Fund                    S&P 500 TR USD                                                       13.46%
       Proprietary Fund

       Model 1                Vanguard REIT Index Fund;Institutional                  MSCI US REIT GR USD                                                  12.75%


       Model 2                TIAA-CREF Real Estate Securities Fund;Inst              FTSE NAREIT All Equity REITs TR USD                                  13.05%


Notes:
[1] Prospectus benchmarks for each fund reflect all the primary prospectus benchmarks during the period.
[2] "n/a - benchmark index" denotes that the Pomerantz Benchmark is the Actively Managed Proprietary Fund's prospectus benchmark.
[3] Annualized Return of Prospectus Benchmark is calculated for the period in which the Actively Managed Proprietary Fund was offered in the Plan and reflects changes in
the primary prospectus benchmarks.
[4] In 2013, the prospectus benchmark for Vanguard Growth Index Fund changed from MSCI US Prime Market Growth Index to CRSP US Large Cap Growth TR USD.
[5] In 2010, the prospectus benchmark for Vanguard Total International Stock Index Fund changed from MSCI EAFE + Emerging Markets Index to MSCI ACWI Ex USA
NR USD. In 2013, the prospectus benchmark for Vanguard Total International Stock Index Fund changed from MSCI ACWI Ex USA NR USD to FTSE Global All Cap ex
US (USA) NR USD.
[6] In 2011, the prospectus benchmark for Vanguard World Total Stock Market Index Fund changed from FTSE All World NR USD to FTSE Global All Cap (US RIC) NR
USD. Returns for the FTSE Global All Cap (US RIC) NR USD were not available for the entire period.
[7] In 2010, the prospectus benchmark for American Funds New Perspective Fund changed from MSCI World Index to MSCI ACWI NR USD.
[8] In 2016, the prospectus benchmark for Deutsche High Income Fund changed from Credit Suisse High Yield Index to BofAML US HY Master II Constnd TR USD.
[9] In 2013, the prospectus benchmark for Vanguard Value Index Fund changed from MSCI US Prime Market Value Index to CRSP US Large Cap Value TR USD.
Sources:
Pomerantz Report, PX250; Morningstar Direct; SEC Edgar; MSCI.




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                     EXHIBIT 5
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                                                                                 Exhibit 5

                 Performance Statistics of Actively Managed Proprietary Funds and the Pomerantz Benchmarks
                                                                               December 2009

                                                                                                                                 Annualized 5-Year Statistics
                                                                                  Assets Under
                                                                                  Management                         Cumulative             Standard
                                                                                  (in millions)          Fee          Return                Deviation           Sharpe Ratio
Deutsche Capital Growth Fund                                                          $1,771           0.71%             2.33%                 14%                  -0.03
   Model 1: Vanguard Growth Index Fund;Institutional                                 $15,670           0.08%             1.79%                 16%                  -0.06
   Model 2: Fidelity Contrafund                                                      $63,892           1.02%             4.75%                 15%                   0.13
Deutsche Core Fixed Income Fund                                                         $605           0.55%             0.78%                  5%                  -0.39
   Model 1: Vanguard Total Bond Market Index Fund;Inst                               $67,871           0.07%             5.04%                  4%                  0.63
   Model 2: PIMCO Total Return Fund;Institutional                                   $201,742           0.45%             6.85%                  4%                  0.97
Deutsche CROCI International Fund                                                     $1,261           0.81%             3.15%                 22%                   0.02
   Model 1: Vanguard Total International Stock Index Fund;Inst                       $26,044           0.27%             5.26%                 21%                   0.12
   Model 2: Dodge & Cox International Stock Fund                                     $36,748           0.65%             5.59%                 23%                   0.13
                                 3
Deutsche Global Growth Fund                                                           $1,221           1.12%            36.40%                 23%                   1.55
   Model 1: Vanguard Total World Stock Index Fund;Inst                                  $757           0.25%            25.81%                 25%                   1.02
   Model 2: American Funds New Perspective Fund;R5                                   $43,835           0.52%            29.67%                 22%                   1.37
Deutsche High Income Fund                                                             $1,533           0.67%             4.93%                 11%                   0.21
   Model 1: BofAML US HY Master II Constrnd                                                -              -              6.40%                 13%                   0.28
   Model 2: Fidelity Capital & Income Fund                                           $11,493           0.78%             7.64%                 14%                   0.35
Deutsche Large Cap Value Instl                                                        $1,629           0.63%             1.66%                 15%                  -0.07
   Model 1: Vanguard Value Index Fund;Institutional                                  $11,641           0.08%             0.19%                 17%                  -0.15
   Model 2: Dodge & Cox Stock Fund                                                   $39,991           0.52%            -0.69%                 19%                  -0.18
Deutsche Real Estate Sec Instl                                                          $973           0.63%             0.75%                 32%                  -0.06
   Model 1: Vanguard REIT Index Fund;Institutional                                   $11,280           0.09%             0.71%                 32%                  -0.06
   Model 2: TIAA-CREF Real Estate Securities Fund;Inst                                  $495           0.56%            -1.87%                 31%                  -0.15

Notes:
[1] BofAML US HY Master II Constrnd is an index and therefore does not have values for Assets Under Management or Fee.
[2] "-" indicates missing data.
[3] The Deutsche Global Growth Fund's and its alternatives' statistics are calculated only for the period from November 2008 to December 2009 as the Deutsche Global Growth
Fund's first full month of data is September 2008 and the Vanguard Total World Stock Idx's first full month of data is November 2008.
Sources:
Lipper for Investment Management; Morningstar Direct; Pomerantz Report, PX250.
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                     EXHIBIT 6
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                                                                                                      Exhibit 6

                          Hypothetical Quantitative Special Review & Termination Review Status of Model 2 Pomerantz Benchmarks
                                                                                                  Q1 2010 - Q2 2013

                                                        Active or Geographic           Q1       Q2        Q3        Q4        Q1        Q2        Q3       Q4        Q1        Q2        Q3        Q4        Q1       Q2
Model 2 Pomerantz Benchmark                              Passive    Focus             2010     2010      2010      2010      2011      2011      2011     2011      2012      2012      2012      2012      2013     2013

American Funds New Perspective Fund;R5                    Active       Non-US
Dodge & Cox International Stock Fund                      Active       Non-US                                                                      -         -         -        -         -         -         -         -
Dodge & Cox Stock Fund                                    Active         US            SR        SR       TR        TR        TR        SR        SR        SR
Fidelity Capital & Income Fund                            Active         US                                                                                                                        SR        SR        SR
Fidelity Contrafund                                       Active         US
PIMCO Total Return Fund;Institutional                     Active         US
TIAA-CREF Real Estate Securities Fund;Inst                Active         US            SR        TR       SR        SR        SR        SR


Notes:
[1] A value of "SR" indicates that the fund met the quantitative criteria for Special Review in that particular quarter. A value of "TR" indicates that the fund met the quantitative criteria for Termination Review in that
particular quarter. A blank cell indicates that the fund did not meet either the Special Review or the Termination Review quantitative criteria in that particular quarter. A value of "-" indicates that the Actively Managed
Proprietary Fund associated with the Model 2 Pomerantz Benchmark was not part of the Plan as of end of quarter.
[2] A "period" for determining Special Review and Termination Review status is defined as a rolling three-year period computed quarterly.
[3] An active fund meets quantitative Special Review criteria if it underperforms its relevant Index and the Peer Group median in 2 consecutive periods.
[4] An active fund meets quantitative Termination Review criteria if it (1) underperforms its relevant Index and ranks in the bottom quartile of its Peer Group in 4 consecutive periods, and (2) underperforms its relevant
Index and the Peer Group median in a trailing five-year period.
[5] A fund that meets quantitative Termination Review criteria will be placed on Special Review if it either performed in the top 40% of its peer group or if it exceeded its relevant Index in the past twelve month period.
[6] The peer groups for each Model 2 Pomerantz Benchmark are comprised of mutual funds with the same Lipper classification, index-fund indicator, and fund-of-fund indicator as the Model 2 Pomerantz Benchmark.
Peer funds exclude funds managed by the same company as the Model 2 Pomerantz Benchmark, closed-end funds, ETFs, REITs, master funds, feeder funds, 529 funds, hub & spoke funds, and funds with a distribution
channel of “Affinity with an Organization” or “Employee.” Peer groups are limited to institutional load and no load mutual funds. Only funds with at least $100 million in fund assets are included in the peer groups. For
mutual funds with multiple share classes that meet these criteria, the share class with the highest return is selected.
Sources:
Expert Report of Steve Pomerantz, Ph.D, PX250; Deutsche Bank Statement of Investment Policies and Objectives (December 2009), JX100; Lipper for Investment Management; Morningstar Direct.
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                                                                                                      Exhibit 6

                          Hypothetical Quantitative Special Review & Termination Review Status of Model 2 Pomerantz Benchmarks
                                                                                                  Q3 2013 - Q4 2016

                                                        Active or Geographic           Q3       Q4        Q1        Q2        Q3        Q4        Q1       Q2        Q3        Q4        Q1        Q2        Q3       Q4
Model 2 Pomerantz Benchmark                              Passive    Focus             2013     2013      2014      2014      2014      2014      2015     2015      2015      2015      2016      2016      2016     2016

American Funds New Perspective Fund;R5                    Active       Non-US                                                                                                                       -         -         -
Dodge & Cox International Stock Fund                      Active       Non-US           -         -         -         -        -         -         -         -         -        -         -         -         -         -
Dodge & Cox Stock Fund                                    Active         US                                                                                                               -         -         -         -
Fidelity Capital & Income Fund                            Active         US            SR        SR       SR        SR
Fidelity Contrafund                                       Active         US            SR                                               SR        SR                                                         SR        SR
PIMCO Total Return Fund;Institutional                     Active         US                                                                                                    SR        SR        TR        SR        SR
TIAA-CREF Real Estate Securities Fund;Inst                Active         US                                         SR                            SR        SR                                               SR        SR


Notes:
[1] A value of "SR" indicates that the fund met the quantitative criteria for Special Review in that particular quarter. A value of "TR" indicates that the fund met the quantitative criteria for Termination Review in that
particular quarter. A blank cell indicates that the fund did not meet either the Special Review or the Termination Review quantitative criteria in that particular quarter. A value of "-" indicates that the Actively Managed
Proprietary Fund associated with the Model 2 Pomerantz Benchmark was not part of the Plan as of end of quarter.
[2] A "period" for determining Special Review and Termination Review status is defined as a rolling three-year period computed quarterly.
[3] An active fund meets quantitative Special Review criteria if it underperforms its relevant Index and the Peer Group median in 2 consecutive periods.
[4] An active fund meets quantitative Termination Review criteria if it (1) underperforms its relevant Index and ranks in the bottom quartile of its Peer Group in 4 consecutive periods, and (2) underperforms its relevant
Index and the Peer Group median in a trailing five-year period.
[5] A fund that meets quantitative Termination Review criteria will be placed on Special Review if it either performed in the top 40% of its peer group or if it exceeded its relevant Index in the past twelve month period.
[6] The peer groups for each Model 2 Pomerantz Benchmark are comprised of mutual funds with the same Lipper classification, index-fund indicator, and fund-of-fund indicator as the Model 2 Pomerantz Benchmark.
Peer funds exclude funds managed by the same company as the Model 2 Pomerantz Benchmark, closed-end funds, ETFs, REITs, master funds, feeder funds, 529 funds, hub & spoke funds, and funds with a distribution
channel of “Affinity with an Organization” or “Employee.” Peer groups are limited to institutional load and no load mutual funds. Only funds with at least $100 million in fund assets are included in the peer groups. For
mutual funds with multiple share classes that meet these criteria, the share class with the highest return is selected.
Sources:
Expert Report of Steve Pomerantz, Ph.D, PX250; Deutsche Bank Statement of Investment Policies and Objectives (December 2009), JX100; Lipper for Investment Management; Morningstar Direct.
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                     EXHIBIT 7
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                                                                                    Exhibit 7

                 Comparison of Cumulative Annualized Returns for Actively Managed Proprietary Funds to
          the Top 5 Most Frequently Held Funds in the Same Morningstar Category As Identified by Dr. Pomerantz
                                                                        January 2010 - September 2017

                                                                                            Cumulative Annualized Return
                                                                                                                                  Return within or
                                                                         Actively Managed       Minimum            Maximum        above Alternative
      Actively Managed Proprietary Fund                                  Proprietary Option Alternative Return Alternative Return   Return Range
      Deutsche Capital Growth Fund                                                11.8%                      10.4%                     14.7%                        X
      Deutsche Core Fixed Income Fund                                              4.2%                       3.6%                      4.4%                        X
      Deutsche CROCI International Fund                                            3.5%                       8.9%                     14.7%
      Deutsche Global Growth Fund                                                  5.4%                       7.3%                      9.3%
      Deutsche High Income Fund                                                    7.7%                       6.6%                      8.4%                        X
      Deutsche Large Cap Value Instl                                               8.6%                       9.7%                     12.3%
      Deutsche Real Estate Sec Instl                                              12.6%                      10.2%                     13.0%                        X

      Number of Actively Managed Proprietary Funds Included in Dr. Pomerantz's Analysis                                                                            7
      Number of Actively Managed Proprietary Fund Returns Greater than At Least One of the Top 5 Alternatives                                                      4
           Percent                                                                                                                                                57%

Notes:
[1] The time period during the class period from December 21, 2009 through December 31, 2009 is excluded from this analysis.
[2] In his selection of Pomerantz Benchmarks for Model 2, Dr. Pomerantz states that he first identifies the Top 5 most frequently held funds by plans with greater than $250M in assets.
Sources:
MSP Participant Account Balance Data, DX057; Morningstar Direct; Pomerantz Report, PX250; Dr. Pomerantz's Backup File (PX322.XLSX); Fidelity Trial Balance DB MSP January
1, 2017 to January 31, 2017, DX142.0003; 2017-04 Trial Balance, JX138.0003; Deutsche Bank Matched Savings Plan Quarterly Investment Review, Third Quarter 2016, JX187.
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                     EXHIBIT 8
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                                                                                                            Exhibit 8


                                                               Comparison of Rolling 5-Year Tracking Error with Peers
                                                                         DWS EAFE Equity Index Fund
                                                                                             January 2010 - December 2012
                 2.0%




                 1.5%
Tracking Error




                 1.0%




                 0.5%




                 0.0%
                          Mar               Jun              Sep               Dec               Mar               Jun              Sep               Dec               Mar               Jun              Sep               Dec
                          10                 10              10                10                11                 11              11                11                12                 12              12                12
  Proprietary
  Index Fund:           0.80%             0.81%             0.80%             0.79%            0.78%             0.79%             0.80%             0.87%            0.88%             0.87%             0.86%             0.86%

  Peer Max:             0.95%             0.96%             0.96%             0.96%            0.96%             0.96%             0.98%             1.04%            1.04%             1.03%             1.02%             1.02%

  Peer Min:             0.53%             0.55%             0.55%             0.55%            0.55%             0.55%             0.57%             0.61%            0.61%             0.61%             0.59%             0.60%

  Peer Median:          0.79%             0.80%             0.80%             0.81%            0.81%             0.81%             0.81%             0.89%            0.89%             0.88%             0.87%             0.88%

  Peer Count:              11               11                11                11                11               11                11                11                11               11                11                10
                                                                                  ── DWS EAFE Equity Index Fund                      ── Peer Funds
  Notes:
  [1] The peer groups for each year are constructed from index funds with the same Primary Prospectus Benchmark and Morningstar Category as the Proprietary Index Fund. Peer groups are calculated separately for each month;
  they exclude funds that have missing returns data. For mutual funds with multiple share classes, the share class with the maximum return is included in the peer group.
  [2] The analysis is only performed for the months in which the Proprietary Index Fund was in the Plan and had data available for the trailing five-year period. The tracking error of the Proprietary Index Fund is represented by the
  blue line.
  [3] Tracking Error is calculated as the standard deviation of the monthly difference between the returns of the fund and its benchmark.
  [4] The Benchmark of the Proprietary Index Fund is MSCI EAFE NR USD. The Morningstar Category of the Proprietary Index Fund is Foreign Large Blend.
  Source:
  Morningstar Direct.



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                                                                                                            Exhibit 8


                                                               Comparison of Rolling 5-Year Tracking Error with Peers
                                                                           DWS Equity 500 Index Fund
                                                                                             January 2010 - December 2012
                 2.0%




                 1.5%
Tracking Error




                 1.0%




                 0.5%




                 0.0%
                          Mar               Jun               Sep              Dec               Mar               Jun               Sep              Dec               Mar               Jun               Sep              Dec
                          10                 10               10               10                11                 11               11               11                12                12                12               12
  Proprietary
  Index Fund:           0.02%             0.02%             0.02%             0.02%            0.02%             0.02%             0.02%             0.02%            0.02%             0.02%             0.02%             0.02%

  Peer Max:             1.72%             1.71%             1.71%             1.71%            1.70%             1.70%             1.72%             1.74%            1.74%             1.74%             1.72%             1.72%

  Peer Min:             0.01%             0.01%             0.01%             0.01%            0.01%             0.01%             0.01%             0.01%            0.01%             0.01%             0.01%             0.01%

  Peer Median:          0.04%             0.04%             0.04%             0.04%            0.04%             0.04%             0.04%             0.04%            0.04%             0.04%             0.04%             0.04%

  Peer Count:              59               58                57                57                57               57                56                57                57               54                53                52

  Notes:
                                                                                   ── DWS Equity 500 Index Fund                   ── Peer Funds
  [1] The peer groups for each year are constructed from index funds with the same Primary Prospectus Benchmark and Morningstar Category as the Proprietary Index Fund. Peer groups are calculated separately for each month;
  they exclude funds that have missing returns data. For mutual funds with multiple share classes, the share class with the maximum return is included in the peer group.
  [2] The analysis is only performed for the months in which the Proprietary Index Fund was in the Plan and had data available for the trailing five-year period. The tracking error of the Proprietary Index Fund is represented by the
  blue line.
  [3] Tracking Error is calculated as the standard deviation of the monthly difference between the returns of the fund and its benchmark.
  [4] The Benchmark of the Proprietary Index Fund is S&P 500 TR USD. The Morningstar Category of the Proprietary Index Fund is Large Blend.
  Source:
  Morningstar Direct.



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                                                                                                            Exhibit 8


                                                               Comparison of Rolling 5-Year Tracking Error with Peers
                                                                           DWS U.S. Bond Index Fund
                                                                                             January 2010 - December 2012
                 1.0%



                 0.8%
Tracking Error




                 0.6%



                 0.4%



                 0.2%



                 0.0%
                          Mar               Jun              Sep               Dec               Mar               Jun              Sep               Dec               Mar               Jun              Sep               Dec
                          10                 10              10                10                11                 11              11                11                12                 12              12                12
  Proprietary
  Index Fund:           0.12%             0.12%             0.12%             0.12%            0.12%             0.12%             0.12%             0.12%            0.12%             0.12%             0.12%             0.11%

  Peer Max:             0.76%             0.78%             0.78%             0.79%            0.79%             0.79%             0.79%             0.79%            0.79%             0.79%             0.79%             0.78%

  Peer Min:             0.09%             0.08%             0.08%             0.08%            0.08%             0.08%             0.08%             0.08%            0.08%             0.08%             0.07%             0.07%

  Peer Median:          0.16%             0.16%             0.16%             0.16%            0.16%             0.16%             0.16%             0.18%            0.17%             0.15%             0.15%             0.15%

  Peer Count:              8                 8                 8                 8                8                 8                 8                 9                10                9                 9                 9

  Notes:
                                                                                     ── DWS U.S. Bond Index Fund                  ── Peer Funds
  [1] The peer groups for each year are constructed from index funds with the same Primary Prospectus Benchmark and Morningstar Category as the Proprietary Index Fund. Peer groups are calculated separately for each month;
  they exclude funds that have missing returns data. For mutual funds with multiple share classes, the share class with the maximum return is included in the peer group.
  [2] The analysis is only performed for the months in which the Proprietary Index Fund was in the Plan and had data available for the trailing five-year period. The tracking error of the Proprietary Index Fund is represented by the
  blue line.
  [3] Tracking Error is calculated as the standard deviation of the monthly difference between the returns of the fund and its benchmark.
  [4] The Benchmark of the Proprietary Index Fund is BBgBarc US Agg Bond TR USD. The Morningstar Category of the Proprietary Index Fund is Intermediate-Term Bond.
  Source:
  Morningstar Direct.



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               APPENDIX A
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                                   Appendix A


                               Curriculum Vitae
                              WALTER N. TOROUS

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      Brookline, MA, 02446
      Telephone:   (310) 234-1090

Academic Degrees

      B. Math.      University of Waterloo, Statistics and Economics, 1976
      Ph. D.        University of Pennsylvania, Economics, 1981

Academic Appointments

      1980-81       Graduate School of Business Administration, University of
                    Michigan, Lecturer

      1981-85       Graduate School of Business Administration, University of
                    Michigan, Assistant Professor

      1986-87       Graduate School of Management, University of California, Los
                    Angeles, Visiting Assistant Professor

      1987-90       Graduate School of Management, University of California,
                    Los Angeles, Assistant Professor



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                                    Appendix A



       1990-95       John E. Anderson Graduate School of Management, University of
                     California, Los Angeles, Associate Professor

       1995-97       London Business School, Corporation of London Professor of
                     Finance

       1995-2006     John E. Anderson Graduate School of Management, University of
                     California, Los Angeles, Professor

       1997-2003     Director, Richard S. Ziman Real Estate Center, John
                     E. Anderson Graduate School of Management, University
                     of California, Los Angeles

       2006-12       John E. Anderson Graduate School of Management,
                     University of California, Los Angeles, Lee and Seymour Graff
                     Endowed Professor

       2009-11       Visiting Professor
                     Center for Real Estate
                     Massachusetts Institute of Technology, Cambridge, MA

       2012-Present Senior Lecturer
                    Center for Real Estate / Sloan School of Management
                    Massachusetts Institute of Technology, Cambridge, MA



Professional Activities

       Journal of Housing Economics, Associate Editor, 1991 - Present
       Journal of Real Estate Finance and Economics, Associate Editor, 1992 - Present
       Real Estate Economics,
               Associate Editor, 1993 - 2005, 2015 - Present
               Editor, 2006 - 2014
       Pacific-Basin Finance Journal, Associate Editor, 1997- 2003
       Economic Notes, Associate Editor, 1999 - 2011

       Ad hoc referee for Journal of Finance, Journal of Financial and Quantitative
       Analysis, Journal of Banking and Finance, Journal of Business, Review of
       Financial Studies, Journal of Financial Economics, Journal of Money, Credit, and
       Banking, Management Science, Journal of Empirical Finance, Journal of
       International Money and Finance

       Member:
       American Finance Association, 1980 - Present




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       American Real Estate and Urban Economics Association, 1990 - Present
       Western Finance Association, 1980 - Present
             Associate Program Chair, 1990
             Board of Directors, 1991-94


Refereed Publications

1. Ball, C. A., and Torous, W. N., “A Simplified Jump Process for Common Stock
   Returns,” Journal of Financial and Quantitative Analysis, 18:1, pp. 53-65, March
   1983.

2. Ball, C. A., and Torous, W. N., “Bond Price Dynamics and Options,” Journal of
   Financial and Quantitative Analysis, 18:4, pp. 517-531, December 1983.

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   Price Volatility: Theory, Evidence, and Application to Option Pricing,” Journal of
   Business, 57:1, pp. 97-112, January 1984.

4. Milne, W. J., and Torous, W. N., “Long-Term Interest Rates and the Price Level: The
   Canadian Evidence on the Gibson Paradox,” Canadian Journal of Economics, 17:2,
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5. Ball, C. A., Torous, W. N., and Tschoegl, A. E., “On Inferring Standard Deviations
   from Path Dependent Options,” Economic Letters, 18, pp. 377-380, 1985.

6. Ball, C. A., Torous, W. N., and Tschoegl, A. E., “The Degree of Price Resolution:
   The Case of the Gold Market,” Journal of Futures Markets, 5:1, pp.29-43, Spring
   1985.

7. Ball, C. A., Torous, W. N., and Tschoegl, A. E., “An Empirical Investigation of the
   EOE Gold Options Market,” Journal of Banking and Finance, 9:1, pp. 101-113,
   March 1985.

8. Ball, C. A., and Torous, W. N., “On Jumps in Common Stock Prices and Their
   Impact on Call Option Pricing,” Journal of Finance, 40:1, pp. 155-173, March 1985.

9. Torous, W. N., “Differential Taxation and the Equilibrium Structure of Interest
   Rates,” Journal of Banking and Finance, 9, pp. 363-385, August 1985.

   Reprinted in The Debt Market, S. Ross (Editor), Edward Elgar, 2000.

10. Ball, C. A., and Torous, W. N., “Futures Options and the Volatility of Futures
    Prices,” Journal of Finance, 41:4, pp. 857-870, September 1986.




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11. Ball, C. A., and Torous, W. N., “Investigating Security Price Performance in the
    Presence of Event Date Uncertainty,” Journal of Financial Economics, 22, pp. 123-
    153, October 1988.

12. Schwartz, E. S., and Torous, W. N., “Prepayment and the Valuation of Mortgage-
    Backed Securities,” Journal of Finance, 44:2, pp. 375-392, June 1989.

13. Titman, S., and Torous, W. N., “Valuing Commercial Mortgages: An Empirical
    Investigation of the Contingent-Claims Approach to Valuing Commercial
    Mortgages,” Journal of Finance, 44:2, pp. 345-373, June 1989.

   Reprinted in The Debt Market, S. Ross (Editor), Edward Elgar, 2000.

14. Franks, J. R., and Torous, W. N., “An Empirical Investigation of U.S. Firms in
    Reorganization,” Journal of Finance, 44:3, pp. 747-769, July 1989.

   Reprinted in Corporate Bankruptcy and Distressed Restructurings: Analytical Issues
   and Investment Opportunities, E. Altman (Editor), Irwin, 1992.

15. Schwartz, E. S., and Torous, W. N., “Valuing Stripped Mortgage-Backed Securities,”
    Housing Finance Review, 8, pp. 241-251, Fall 1989.

   Reprinted in The Debt Market, S. Ross (Editor), Edward Elgar, 2000.

16. Haugen, R. A., Talmor, E., and Torous, W. N., “The Effect of Volatility Changes on
    the Level of Stock Prices and Subsequent Expected Returns,” Journal of Finance,
    46:8, pp. 985-1007, July 1991.

17. Geske, R. L., and Torous, W. N., “Skewness, Kurtosis, and Black-Scholes Option
    Mispricing,” Statistical Papers, 32, pp. 299-309, December 1991.

18. Schwartz, E. S., and Torous, W. N., “Prepayment, Default, and the Valuation of
    Mortgage Pass-Through Securities,” Journal of Business, 65:2, pp. 221-239, April
    1992.

19. Franks, J. R., and Torous, W. N., “Lessons from a Comparison of U.S. and U.K.
    Insolvency Codes,” Oxford Review of Economic Policy, 8:3, pp. 70-82, September
    1992.

   Reprinted in Journal of Applied Corporate Finance, pp. 95-103, January 1993.

20. Schwartz, E. S., and Torous, W. N., “Mortgage Prepayment and Default Decisions: A
    Poisson Regression Approach,” Journal of the American Real Estate and Urban
    Economics Association, 21:4, pp. 431-448, March 1993.




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21. Franks, J. R., and Torous, W. N., “A Comparison of Financial Recontracting in
    Workouts and Chapter 11 Reorganizations,” Journal of Financial Economics, 28:8,
    pp. 349-370, June 1994.

   Reprinted in Studies in Empirical Corporate Finance, M. Brennan (Editor), Edward
   Elgar, 2001.

22. Ball, C. A., and Torous, W. N., “On Unit Roots and the Estimation of Interest Rate
    Dynamics,” Journal of Empirical Finance, 3:2, pp. 215-238, June 1996.

23. Franks, J. R., Nyborg, K., and Torous, W. N., “A Comparison of U. K, U. S., and
    German Insolvency Codes,” Financial Management, 25:3, pp. 274-301, Autumn
    1996.

24. Roma, A., and Torous, W. N., “On the Cyclical Behavior of Interest Rates,” Journal
    of Finance, 52:4, pp. 1519-1542, September 1997.

25. Brennan, M. J., and Torous, W. N., “Individual Decision Making and Investor
    Welfare,” Economic Notes, 28:2, pp. 119-143, July 1999.

26. Ball, C. A., and Torous, W. N., “The Stochastic Volatility of Short-term Interest
    Rates: Some International Evidence,” Journal of Finance, 54:6, pp. 2339-2359,
    December 1999.

   Reprinted in Model Risk: Concepts, Calibration, and Pricing, R. Gibson (Editor),
   Risk Books, 2000.

27. Ball, C. A., and Torous, W. N., “Stochastic Correlation Across International Stock
    Markets,” Journal of Empirical Finance, 7:3-4, pp. 373-388, November 2000.

28. Torous, W. N., Yan, S. and Valkanov, R., “On Predicting Stock Returns with Nearly
    Integrated Explanatory Variables,” Journal of Business, 77:4, pp. 937-966, October
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29. Dierker, M., Quan, D., and Torous, W. N., “Pricing the Defeasance Option in
    Securitized Commercial Mortgages,” Real Estate Economics, 33:4, pp. 663-680,
    Winter 2005.

30. Berardi, A., and Torous, W. N., “Term Structure Forecasts of Long Term
    Consumption Growth,” Journal of Financial and Quantitative Analysis, 40:2, pp. 241-
    258, June 2005.

31. Brennan, M. J., Lee, F., and Torous, W. N., “Dollar Cost Averaging,” Review of
    Finance, 9:4, pp. 509-535, 2005.




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32. Hong, H, Torous, W. N., and Valkanov, R., “Do Industries Lead Stock Markets?,”
    Journal of Financial Economics, 83:2, pp. 367-396, 2007.

33. Schwartz, E. S., and Torous, W. N., “Commercial Office Space: Testing the
    Implications of Real Options Model with Competitive Interactions,” Real Estate
    Economics, 35:1, pp. 1-20, 2007.

   Awarded Edwin S. Mills Prize for best paper in Real Estate Economics for 2007.

34. Plazzi, A., Torous, W. N., and Valkanov, R., “The Cross-Sectional Dispersion of
    Commercial Real Estate Returns and Rent Growth: Time Variation and Economic
    Fluctuations,” Real Estate Economics, 36:3, pp. 403-429, 2008.

35. Plazzi, A., Torous, W. N., and Valkanov, R., “Expected Returns and the Expected
    Growth in Rents of Commercial Real Estate,” Review of Financial Studies, 23:9, pp.
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36. Plazzi, A., Torous, W.N., and Valkanov, R., “Exploiting Property Characteristics in
    Commercial Real Estate Portfolio Allocation,” Journal of Portfolio Management,
    Special Real Estate Issue, pp. 39-50, 2011.

37. Linnainmaa, J. T., Torous, W. N., and Yae, J., “Reading the Tea Leaves: Model
    Uncertainty, Robust Forecasts and the Autocorrelation of Analysts’ Forecast Errors,”
    Journal of Financial Economics, 122:1, pp.42-64, 2016.


Chapters in Books

38. Geske, R. L., and Torous, W. N., “Black-Scholes Option Pricing and Robust Variance
    Estimation,” pp. 49-69, in Options: Recent Advances in Theory and Practice, S.
    Hodges (Editor), Manchester University Press, 1990.

39. Schwartz, E. S., and Torous, W. N., “Caps on Adjustable Rate Mortgages: Valuation,
    Insurance, and Hedging,” pp. 283-303, in Financial Markets and Financial Crises, R.
    G. Hubbard (Editor), University of Chicago Press, 1991.

40. Betker, B. L., Franks, J. R., and Torous, W. N., “Are Stockholders Better Off When
    Debt is Restructured Privately?,” pp. 391-400, in Corporate Bankruptcy and
    Distressed Restructuring: Analytical Issues and Investment Opportunities, E. Altman
    (Editor), Irwin, 1992.

41. Torous, W. N., “Mortgage Backed Securities,” in North-Holland Handbook of
    Operations Research and Management Science, R. A. Jarrow, V. Maksimmovic, and
    W. T. Ziemba (Editors), North-Holland, 1995.




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42. Franks, J. R., Nyborg, K, and Torous, W. N., “A Tale of Three Codes: A Comparison
    of U. K., U. S., and German Insolvency Codes,” in Mastering Finance, H. Rose
    (Editor), Pittman Publishing, 1998.

43. Torous, W. N. “The Behaviour of Short Term Interest Rates,” in Mastering Finance,
    H. Rose (Editor), Pittman Publishing, 1998.

44. Schwartz, E. S., and Torous, W. N., “Can We Disentangle Risk Aversion from
    Intertemporal Substitution in Consumption?,” in Essays on Uncertainty: Festschrift in
    Honor of Steinar Ekern, Norges Handelshoyskole, Bergen, Norway, 2002.

45. Ghyssels, E., Plazzi, A., Torous, W. N., and R. Valkanov, R., “Forecasting Real
    Estate Prices,” in Handbook of Economic Forecasting, Volume 2A, G. Elliott and A.
    Timmermann (Editors), North-Holland, 2013.


Submitted Manuscripts

46. Agarwal, S., Liu, C., Torous, W. N., and Yao, V. W., “The Mistakes People Make:
    Financial Decision Making when Buying and Owning a Home,” revise and resubmit,
    Review of Finance, 2016.

47. Ghent, A., Torous, W. N., and Valkanov, R., “Complexity in Structured Finance,”
    revise and resubmit, Review of Economic Studies, 2016.

Working Papers

48. Bokhari, S., Torous, W. N., and Wheaton, W., “Leverage in the Housing Boom and
    Bust,” 2015.

49. Ghent, A., Miltersen, K., and Torous, W. N., “Second Mortgages: Valuation and
    Implications for the Performance of Structured Financial Products,” 2016.

50. Plazzi, J, and Torous, W.N., “Does Corporate Governance Matter?: Evidence from
    the AGR Governance Rating,” 2016.




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                                     WALTER N. TOROUS

                            List of Testimony in the Last Five Years



2018 – Residential Funding Company, LLC v. Home Loan Center, Inc., In the United States
       District Court for the District of Minnesota, Case No. 14-cv-01716 (SRN/HB)
       Provided expert report and deposition testimony.

2018 – Residential Funding Company, LLC v. Decision One Mortgage Company, LLC, In the
       United States District Court for the District of Minnesota, Case No. 14-cv-1737
       (MJD/JSM)
       Provided expert report and deposition testimony.

2018 – Residential Funding Company, LLC v. HSBC Mortgage Corp. (USA), In the United
       States Bankruptcy Court for the Southern District of New York, Case No. 14-01915
       (MG)
       Provided expert report and deposition testimony.

2018 – Federal Deposit Insurance Corporation as Receiver for United Western Bank v. RBS
       Acceptance Inc., et al., In the United States District Court for the District of Colorado,
       Case No. 1:14-CV-00418-PAB-MJW
       Provided expert report and deposition testimony.

2018 – Federal Deposit Insurance Corporation as Receiver for Guaranty Bank v. Deutsche Bank
       Securities Inc., et al., In the United States District Court for the Western District of Texas
       Austin Division, Case No. 1:14-cv-00129-SS
       Provided expert report and deposition testimony.

2018 – Federal Deposit Insurance Corporation as Receiver for Guaranty Bank v. RBS Securities
       Inc., et al., In the United States District Court for the Western District of Texas Austin
       Division, Case No. 1:14-cv-00126-SS
       Provided expert report and deposition testimony.

2017 – Ramon Moreno, et al. v. Deutsche Bank Americas Holding Corp., et al., In the United
       States District Court for the Southern District of New York, Case No. 1:15-cv-09936
       (LGS)
       Provided expert report and deposition testimony.

2017 – Lou Baker, et al. v. SeaWorld Entertainment, Inc., et al., In the United States District
       Court for the Southern District of California, Case No. 3:14-cv-02129-MMA-AGS
       Provided expert report and deposition testimony.




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2017 – Old Republic Insurance Company and Old Republic Insured Credit Services, Inc., n/k/a
       Republic Insured Credit Services, Inc. v. The Bank of New York Mellon, BNY Mellon
       Trust of Delaware, Countrywide Bank, FSB, n/k/a Bank of America, N.A., Countrywide
       Home Loans Servicing, LP, n/k/a Bank of America, N.A.; Countrywide Bank, FSB, n/k/a
       Bank of America, N.A., Countrywide Home Loans, Inc., Countrywide Home Loans
       Servicing, LP, n/k/a Bank of America, N.A., The Bank of New York Mellon, and BNY
       Mellon Trust of Delaware v. Old Republic Insurance Company; In the Circuit Court of
       Cook County, Illinois for the County Department, Chancery Division, Case No. 08 CH
       47501
       Provided expert report and deposition testimony.

2017 – Royal Park Investments SA/NV v. HSBC Bank USA, National Association, In the United
       STATES District Court for the Southern District of New York, Case No. 14-cv-8175-
       LGS-SN; BlackRock Balanced Capital Portfolio (FI), et al. v. HSBC Bank USA, National
       Association, In the United States District Court for the Southern District of New York,
       Case No. 14-cv-9366-LGS-SN
       Provided expert report and deposition testimony.

2017 – U.S. Bank National Association, solely in its capacity as Trustee for Citigroup Mortgage
       Loan Trust 2007-AR7 v. Citigroup Global Markets Realty Corp. and CitiMortgage, Inc.,
       In the United States District Court for the Southern District of New York, Civil Action
       No. 13 Civ. 6989 (GBD)
       Provided expert report and deposition testimony.

2016 – U.S. Bank National Association, solely in its capacity as Trustee of the Home Equity
       Asset Trust 2007-1 (HEAT 2007-1) v. DLJ Mortgage Capital, Inc., In the Supreme Court
       of the State of New York County of New York, Index No. 650369/2013
       Provided expert report and deposition testimony.

2016 – Federal Deposit Insurance Corporation v. Credit Suisse First Boston Mortgage
       Securities Corp., et al., In the Circuit Court of Montgomery County, Alabama, Civil
       Action No. 03-cv-2012-901035.00 and Federal Deposit Insurance Corporation v. RBS
       Securities Inc., In the Circuit Court of Montgomery County, Alabama, Civil Action No.
       03-cv-2012-901036.00
       Provided expert report and deposition testimony.

2016 – Home Equity Mortgage Trust Series 2006-1, et al. v. DLJ Mortgage Capital, Inc. and
       Select Portfolio Servicing, Inc., In the Supreme Court of the State of New York, County
       of New York, Index No. 156016; Home Equity Mortgage Trust Series 2006-5, by U.S.
       Bank National Association, solely in its capacity as Trustee v. DLJ Mortgage Capital,
       Inc. and Select Portfolio Servicing, Inc., In the Supreme Court of the State of New York,
       County of New York, Index No. 653787
       Provided expert report and deposition testimony.

2016 – Federal Deposit Insurance Corporation v. RBS Securities Inc., In the Circuit Court of
       Montgomery County, Alabama, Civil Action No. 03-cv-2012-901036.00




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       Provided expert report and deposition testimony.

2016 – National Credit Union Administration Board v. RBS Securities Inc., et al., In the United
       States District Court for the Central District of California, Case No. 11-cv-5887 GW
       (JEM)
       Provided expert report and deposition testimony.

2016 – National Credit Union Administration Board v. RBS Securities Inc., et al., In the United
       States District Court for the District of Kansas, Case No. 11-cv-2340 JWL (JPO)
       Provided expert report and deposition testimony.

2016 – Federal Home Loan Bank of San Francisco v. Deutsche Bank Securities Inc., et al., In the
       Superior Court of the State of California and for the City and County of San Francisco,
       Case No. CGC-10-497839
       Provided expert report and deposition testimony.

2016 – Federal Housing Finance Agency v. The Royal Bank of Scotland Group PLC, et al., In
       the United States District Court of Connecticut, Case No. 3:11-cv-01383 (AWT)
       Provided expert report and deposition testimony.

2015 – Deutsche Bank National Trust Company, as Trustee for Morgan Stanley ABS Capital I
       Inc. Trust 2007-HE6 v. Decision One Mortgage Company, LLC, In the Circuit Court of
       Cook County, Illinois County Department – Law Division, Case No. 2013 L 005823
       Provided expert report and deposition testimony.

2015 – New Jersey Carpenters Health Fund, on Behalf of Itself and All Others Similarly Situated
       v. Novastar Mortgage, Inc., et al., In the United States District Court for the Southern
       District of New York, Case No. 08-cv-5310 (DAB)
       Provided expert report and deposition testimony.

2015 – In Re MF Global Holdings Limited Securities Litigation, In the United States District
       Court Southern District of New York, Case No. 1:11-cv-07866-VM
       Provided expert report and deposition testimony.

2015 – Federal Home Loan Bank of Seattle, a bank created by federal law v. Deutsche Bank
       Securities Inc., a Delaware corporation; Deutsche Alt-A Securities, Inc., a Delaware
       corporation; and DB Structured Products, Inc., a Delaware corporation, In the Superior
       Court of Washington for King County, Case No. 09-2-46351-4 SEA
       Provided expert report and deposition testimony.

2015 – Federal Home Loan Bank of Seattle, a bank created by federal law v. RBS Securities Inc.,
       f/k/a/ Greenwich Capital Markets, Inc., a Delaware Corporation; Greenwich Capital
       Acceptance, Inc., a Delaware Corporation; and RBS Holdings USA, Inc., f/k/a
       Greenwich Capital Holdings, Inc., a Delaware Corporation, In the Superior Court of
       Washington for King County, Case No. 09-2-46347-6
       Provided expert report and deposition testimony.




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2015 – Fort Worth Employees’ Retirement Fund, On Behalf of Itself and All Others Similarly
       Situated v. J.P. Morgan Chase & Co., et al., In the United States District Court for the
       Southern District of New York, Case No. 1:09-cv-03701 (JPO)
       Provided expert report and deposition testimony.

2014 – Federal Home Loan Bank of Seattle, a bank created by federal law v. RBS Securities Inc.,
       f/k/a/ Greenwich Capital Markets, Inc., a Delaware Corporation; Greenwich Capital
       Acceptance, Inc., a Delaware Corporation; and RBS Holdings USA, Inc., f/k/a
       Greenwich Capital Holdings, Inc., a Delaware Corporation, In the Superior Court of
       Washington for King County, Case No. 09-2-46347-6
       Provided expert report and deposition testimony.

2014 – Federal Housing Finance Agency, as Conservator for the Federal National Mortgage
       Association and the Federal Home Loan Mortgage Corporation v. HSBC North America
       Holdings Inc., HSBC USA Inc., HSBC Markets (USA) Inc., HSBC Bank USA, N.A., HSI
       Asset Securitization Corporation, HSBC Securities (USA) Inc., Neal Leonard, Gerard
       Mattia, Todd White Norman Chaleff, and Jon Voigtman, In the United States District
       Court for the Southern District of New York, Case No. 11 Civ. 6189 (DLC)
       Provided expert report and deposition testimony.

2014 – Massachusetts Mutual Life Insurance Company v. DB Structured Products, Inc., et al., In
       the United States District Court for the District of Massachusetts, Case No. 3:11-cv-
       30039-MGM
       Provided expert report and deposition testimony.

2014 – New Jersey Carpenters Health Fund, New Jersey Carpenters Vacation Fund, and
       Boilermaker Blacksmith National Pension Trust, on Behalf of Themselves and All other
       Similarly Situated v. Residential Capital, LLC. et al., In the United States District Court
       for the Southern District of New York, Civil Action No. 08-cv-8781 (HB)
       Provided expert report and deposition testimony.

2014 – Western and Southern Life Insurance Company, et al., v. DLJ Mortgage Capital, Inc. et
       al., In the Court of Common Pleas, Hamilton County, Ohio, No. A 1105352
       Provided expert report and deposition testimony.

2013 – In Re IndyMac Mortgage-Backed Securities Litigation, In the United States District Court
       for the Southern District of New York, Civil Action No. 09-CIV-04583 (LAK)
       Provided expert report and deposition testimony.

2013 – MBIA Insurance Corporation v. J.P. Morgan Securities LLC (f/k/a Bear, Stearns & Co.
       Inc.), In the Supreme Court for the State of New York County of Westchester, No.
       64676/2012
       Provided expert report and deposition testimony.




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               APPENDIX C
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                                                         Appendix C
                                                      Glossary of Terms

                  Term                                                          Definition
15(c) Process                         The 15(c) process is the annual process through which the Board of a mutual fund reviews
                                      and decides whether to approve the management or advisory agreement with the mutual
                                      fund’s adviser. The process is often referred to as the “15(c) process,” named after the
                                      provision of the Investment Company Act of 1940 requiring such approval. As part of the
                                      15(c) process, the Board typically receives a variety of materials, including information about
                                      the profitability, performance, and expenses of a fund.
Actively Managed Fund                 Managers of actively managed funds often undertake significant research about specific
                                      stocks, bonds, market sectors or geographic locations in order to attempt to enhance fund
                                      returns or characteristics. This approach enables active fund managers to offer investors the
                                      opportunity to earn returns that may exceed the return and/or reduce risk, relative to that of a
Actively Managed Proprietary Funds    Actively Managed Proprietary Funds is a defined term used in this declaration to identify the
                                      seven actively managed proprietary funds that were included in the Plan as of the end of 2009.
                                      These funds were: (1) the Deutsche Capital Growth Fund, (2) the Deutsche Core Fixed
                                      Income Fund, (3) the Deutsche CROCI International Fund, (4) the Deutsche Global Growth
                                      Fund, (5) the Deutsche High Income Fund, (6) the Deutsche Large Cap Value Fund, and (7)
                                      the Deutsche Real Estate Securities Fund.
Basis Point                           One basis point is equal to one hundredth of one percent. The term “basis point” is
                                      commonly abbreviated as “bp” and the plural is commonly abbreviated as “bps.” For
                                      example, 100 bps equal one percent and 50 bps equal 0.5 percent.
Class Period                          Class Period is a defined term used in this declaration to identify the period from December
                                      21, 2009 to September 30, 2017.
Collective Investment Trust (“CIT”)   A collective investment trust (“CIT”) is a pooled investment vehicle that is not registered with
                                      the U.S. Securities and Exchange Commission. A CIT is maintained by a bank or a trust, and
                                      combines assets across a number of institutions (e.g., retirement plans). An investment
                                      manager establishes the objectives that guide investment decisions for a particular CIT. Also
                                      may be called a “commingled pool.”
Core Investment Option                For the Deutsche Bank Matched Savings Plan, the Actively Managed Proprietary Funds, the
                                      Proprietary Index Funds, and other non-proprietary funds make up the core investment
                                      options. The core investment options represent the funds available to Plan participants
                                      outside of the self-directed brokerage window.
Defendants                            Defendants is a defined term used in this declaration to identify the defendants in this matter,
                                      who are Deutsche Bank Americas Holdings Corp., Deutsche Bank Matched Savings Plan
                                      Investment Committee, Deutsche Bank Americas Holdings Corp. Executive Committee,
                                      Richard O’Connell, John Arvanitis, Robert Dibble, Tim Dowling, Richard Ferguson, James
                                      Gnall, Louis Jaffe, Patrick McKenna, David Pearson, Joseph Rice, Scott Simon, Andrew
                                      Threadgold, and James Volkwein.
Defined Contribution Plan /           Defined contribution plans, including 401(k) plans, are retirement plans typically provided by
401(k) Plan                           employers (or plan sponsors) that enable an employee (or participant) to contribute money to
                                      an individual account that the employee (or participant) controls. The plan sponsor may also
                                      contribute to the individual account, in some cases, by matching a certain percentage of a
                                      participant’s contributions or making other contributions.
Expense Ratio                         A mutual fund provides its investors with an integrated bundle of services that includes
                                      portfolio management, recordkeeping, distribution, and shareholder services. The costs of the
                                      bundle of services received are measured by what is referred to as an expense ratio. All open-
                                      end mutual funds make public filings with the SEC in the form of annual reports and
                                      prospectuses. These filings report the expense ratio for each mutual fund share class and a
                                      description of the services provided.
Gross Return                          The gross return is the return that a portfolio or fund receives from all of its investment
                                      activities.




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                                                          Appendix C
                                                       Glossary of Terms

                 Term                                                           Definition
Lipper Classification              A Lipper classification is assigned by Lipper to a fund based on the underlying investments in
                                   the fund. Lipper assigns funds to a given Lipper classification based on the fund’s investment
                                   style as well as the market capitalization and geographic focus of the underlying investments.
Lipper Peer Group                  A Lipper peer group is a group of mutual funds that Lipper considers comparable to a given
                                   fund based on certain characteristics such as fund type, investment objective or classification,
                                   fee structure, asset level comparability, and operating structure and attributes.
Morningstar Category               A Morningstar category is assigned by Morningstar to a fund based on the underlying
                                   investments in the fund. Morningstar places funds in a given Morningstar category based on
                                   their portfolio statistics and compositions over the past three years.
Net Return                         The net return is the return that investors receive from their investments in a portfolio or fund
                                   after deducting all fees and expenses associated with their investments.
Passively Managed Fund             A passively managed fund is a fund that typically purchases all or a representative sample of a
                                   given index in order to track the performance of that index.
Plaintiffs                         Plaintiffs is a defined term used in this declaration to identify the plaintiffs. Plaintiffs are
                                   Ramon Moreno, Donald O’Halloran, Omkhar Arasaratnam, Baiju Gajjar, and Rajath
                                   Nagaraja, individually and as representatives of the Class, and on behalf of the Deutsche Bank
                                   Matched Savings Plan.
Plan                               Plan is a defined term used in this declaration to identify the Deutsche Bank Matched Savings
                                   Plan. The Deutsche Bank Matched Savings Plan is a defined contribution 401(k) plan
                                   covering current and former employees of Deutsche Bank and its affiliates. Deutsche Bank
                                   Americas Holdings Corp. maintains the Plan.
Proprietary Index Funds            Proprietary Index Funds is a defined term used in this declaration to identify the three
                                   Proprietary Index Funds that were included in the Plan as of the end of 2009. These three
                                   funds were: (1) the DWS EAFE Equity Index Fund, (2) the DWS Equity 500 Index Fund, and
                                   (3) the DWS U.S. Bond Index Fund.
Prospectus Benchmark               A mutual fund prospectus is a legal document that the SEC requires each fund to make
                                   available to potential investors. Typically, the document identifies a market index (or blend of
                                   indices) that the fund puts forth to illustrate its investment approach. The performance of this
                                   “prospectus benchmark” may then serve as a comparator for the fund’s performance.
Qualified Default Investment       A QDIA is the default option for Plan participants who do not actively select investment
Alternative (“QDIA”)               options.
Self-Directed Brokerage Window     A self-directed brokerage window offers participants in a defined contribution plan additional
                                   investment options beyond the core investment options offered in the plan. Under the
                                   Deutsche Bank Matched Savings Plan, participants may invest up to 90 percent of their assets
                                   in the self-directed brokerage window.
Separately Managed Account (“SMA”) A separately managed account (“SMA”) is an investment vehicle that is not registered with
                                   the U.S. Securities and Exchange Commission. A SMA comprises an investment portfolio of
                                   stocks, bonds, cash, etc. following a defined strategy and managed by a money manager. A
                                   SMA pools assets from a single investor, and is managed on behalf of that investor. The
                                   investor dictates the investment objectives.
Sharpe Ratio                       A Sharpe Ratio is a standard performance measure used by the asset management industry to
                                   capture reward to risk trade-off. Sharpe Ratios, in industry practice, are commonly calculated
                                   as the excess fund return per unit of volatility, where “excess return” is defined as the monthly
                                   fund return minus the return of a risk-free asset.
Skewness                           The incidence of extreme returns for a particular investment may be measured by the returns’
                                   skewness. An investment with returns exhibiting a positive skew has a larger likelihood of
                                   achieving modest positive returns and a smaller likelihood of achieving extreme negative
                                   returns (relative to an investment with returns exhibiting no particular skew).




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                                                 Appendix C
                                              Glossary of Terms

                Term                                                      Definition
Stable Value Fund             A stable value fund is a capital preservation investment option available in some 401(k) plans
                              and other types of savings plans. Stable value funds are often invested in a high quality,
                              diversified fixed income portfolio that is protected against interest rate volatility by contracts
                              from banks and insurance companies. Stable value funds are designed to preserve capital
                              while providing steady, positive returns.
Standard Deviation            Standard deviation is a measure of dispersion of a set of data from its mean. When applied to
                              the returns of an investment, it informs the historical volatility of that investment. The greater
                              the standard deviation of returns of a security, the greater the variance between each return
                              and the mean, indicating a larger return range and higher volatility. Thus, an investment with
                              a lower standard deviation of returns can be perceived as being less volatile relative to its
                              mean than one with higher standard deviation of returns.
Sub-adviser                   A sub-adviser is a company employed by a mutual fund’s adviser to assist with the
                              management of a given mutual fund.
Tracking Error                Tracking error is a measure of risk that relates a mutual fund’s returns to the performance of a
                              benchmark. Tracking error is calculated as the standard deviation of the monthly difference
                              between the returns of the fund and the benchmark.




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               APPENDIX D
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                                                                                           Appendix D
                                                      Actively Managed Proprietary Funds v. Pomerantz Benchmarks
                                                           Comparison of Asset Allocation (Based on Net Assets)
                                                                                                           [1]
                                                                                                  2009
                                                                                                                         Equity Allocation      Bond Allocation
                                                                                                       Short-Term
      Fund Type                    Fund Name                                                           Investments       US         Non-US      US        Non-US      Other[2]
      Actively Managed
  1                                Deutsche Capital Growth Fund                                                  0.6%    98.6%          0.8%     0.0%         0.0%       0.0%
      Proprietary Fund
      Model 1                      Vanguard Growth Index Fund;Institutional                                      0.1%    99.4%          0.5%     0.0%         0.0%       0.0%
      Model 2                      Fidelity Contrafund                                                           4.3%    76.7%         18.7%     0.2%         0.0%       0.1%
      Actively Managed
  2                                Deutsche Core Fixed Income Fund                                               11.2%    0.0%          0.0%    90.3%        -2.2%       0.7%
      Proprietary Fund
      Model 1                      Vanguard Total Bond Market Index Fund;Inst                                    5.4%     0.0%          0.0%    88.3%         6.2%       0.2%
      Model 2                      PIMCO Total Return Fund;Institutional                                         4.7%     0.0%          0.0%    78.4%        11.5%       5.4%
      Actively Managed
  3                                Deutsche CROCI International Fund                                             4.0%     0.0%         96.0%     0.0%         0.0%       0.0%
      Proprietary Fund
      Model 1                      Vanguard Total International Stock Index Fund;Inst                            0.3%     0.1%         98.6%     0.0%         0.0%        1.0%
      Model 2                      Dodge & Cox International Stock Fund                                          2.0%     6.3%         91.9%     0.0%         0.0%       -0.1%
      Actively Managed
  4                                Deutsche Global Growth Fund                                                   0.9%    44.8%         53.0%     0.0%         0.0%       1.4%
      Proprietary Fund
      Model 1                      Vanguard Total World Stock Index Fund;Inst                                    0.5%    40.7%         57.3%     0.0%         0.0%       1.5%
      Model 2                      American Funds New Perspective Fund;R5                                        5.8%    35.8%         57.4%     0.7%         0.2%       0.0%
      Actively Managed
  5                                Deutsche High Income Fund                                                     0.4%     0.1%          0.0%    78.8%        18.2%       2.5%
      Proprietary Fund
      Model 1                      BofA Merrill Lynch US High Yield Master II Cons TR                               --       --            --       --           --         --
      Model 2                      Fidelity Capital & Income Fund                                                6.8%     9.1%          0.8%    68.0%        13.5%       1.9%
      Actively Managed
  6                                Deutsche Large Cap Value Fund                                                 2.0%    84.0%         14.0%     0.0%         0.0%       0.0%
      Proprietary Fund
      Model 1                      Vanguard Value Index Fund;Institutional                                       0.0%    99.7%          0.3%     0.0%         0.0%       0.0%
      Model 2                      Dodge & Cox Stock Fund                                                        1.7%    82.1%         16.1%     0.0%         0.0%       0.2%
      Actively Managed
  7                                Deutsche Real Estate Securities Fund                                          1.0%    99.0%          0.0%     0.0%         0.0%       0.0%
      Proprietary Fund
      Model 1                      Vanguard REIT Index Fund;Institutional                                        0.5%    99.5%          0.0%     0.0%         0.0%       0.0%
      Model 2                      TIAA-CREF Real Estate Securities Fund;Inst                                    1.1%    98.9%          0.0%     0.0%         0.0%       0.0%

Notes:
[1] Asset allocations reflect the latest available data in 2009.
[2] Other category includes positions in preferred stocks, convertible bonds, and unidentified holdings.
Sources:
Morningstar Direct; Pomerantz Report, PX250.




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                                                                                                       Appendix D

                                                                 Actively Managed Proprietary Funds v. Pomerantz Benchmarks
                                                                           Comparison of Asset Allocation by Region
                                                                                                                     [1]
                                                                                                              2009

                                                                                                           Africa/
      Fund Type                    Fund Name                                                              Middle East               Asia             Australasia   Europe    Americas   Not Classified

                                                                                              Equity Asset Allocations by Region
      Actively Managed
  1                                Deutsche Capital Growth Fund                                                 0.8%                 0.0%                 0.0%       0.0%      99.2%          0.0%
      Proprietary Fund
      Model 1                      Vanguard Growth Index Fund;Institutional                                     0.0%                 0.1%                 0.0%       0.5%      99.5%          0.0%
      Model 2                      Fidelity Contrafund                                                          1.1%                 6.3%                 0.8%       4.4%      87.3%          0.0%
      Actively Managed
  3                                Deutsche CROCI International Fund                                            0.0%                24.1%                 3.8%      72.0%       0.0%          0.0%
      Proprietary Fund
      Model 1                      Vanguard Total International Stock Index Fund;Inst                           2.4%                32.6%                 6.0%      53.6%       5.4%          0.0%
      Model 2                      Dodge & Cox International Stock Fund                                         6.1%                20.5%                 0.2%      60.3%      12.8%          0.0%
      Actively Managed
  4                                Deutsche Global Growth Fund                                                  2.9%                14.8%                 0.6%      30.0%      51.7%          0.0%
      Proprietary Fund
      Model 1                      Vanguard Total World Stock Index Fund;Inst                                   1.5%                17.9%                 3.6%      28.7%      48.4%          0.0%
      Model 2                      American Funds New Perspective Fund;R5                                       0.8%                 9.1%                 2.9%      41.1%      46.1%          0.0%
      Actively Managed
  6                                Deutsche Large Cap Value Fund                                                2.2%                 0.0%                 0.0%       5.5%      92.3%          0.0%
      Proprietary Fund
      Model 1                      Vanguard Value Index Fund;Institutional                                      0.0%                 0.1%                 0.0%       0.1%      99.8%          0.0%
      Model 2                      Dodge & Cox Stock Fund                                                       0.0%                 3.2%                 0.0%      12.7%      84.1%          0.0%
      Actively Managed
  7                                Deutsche Real Estate Securities Fund                                         0.0%                 0.0%                 0.0%       0.0%     100.0%          0.0%
      Proprietary Fund
      Model 1                      Vanguard REIT Index Fund;Institutional                                       0.0%                 0.0%                 0.0%       0.0%     100.0%          0.0%
      Model 2                      TIAA-CREF Real Estate Securities Fund;Inst                                   0.0%                 0.0%                 0.0%       0.0%     100.0%          0.0%

                                                                                         Fixed Income Asset Allocations by Region[2]
      Actively Managed
  2                                Deutsche Core Fixed Income Fund                                              0.5%                 1.4%                 0.2%       5.3%      92.6%          0.0%
      Proprietary Fund
      Model 1                      Vanguard Total Bond Market Index Fund;Inst                                   0.1%                 0.4%                 0.2%       3.9%      95.3%          0.0%
      Model 2                      PIMCO Total Return Fund;Institutional                                        0.2%                 0.6%                 0.5%       6.5%      92.1%          0.0%
      Actively Managed
  5                                Deutsche High Income Fund                                                    0.0%                 0.9%                 0.6%       9.2%      89.3%          0.0%
      Proprietary Fund
      Model 1                      BofA Merrill Lynch US High Yield Master II Cons TR                              --                   --                   --         --         --            --
      Model 2                      Fidelity Capital & Income Fund                                               0.0%                 0.5%                 1.2%       8.1%      90.2%          0.0%

Notes:
[1] Asset allocations reflect the latest available data in 2009. Allocations for each fund were scaled by Morningstar such that long investments sum to
100 percent.
[2] Fixed Income Asset allocations reflect latest available data in 2011 due to a lack of available Fixed Income data in 2009.
Sources:
Morningstar Direct; Pomerantz Report, PX250.


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                                                                 Actively Managed Proprietary Funds v. Pomerantz Benchmarks
                                                                            Comparison of Asset Allocation by Style
                                                                                                                     [1]
                                                                                                              2009

                                                                                               Equity Asset Allocations by Style

      Fund Type                    Fund Name                                                                Growth                 Core                   Value
      Actively Managed
  1                                Deutsche Capital Growth Fund                                                72.2%                20.4%                  7.4%
      Proprietary Fund
      Model 1                      Vanguard Growth Index Fund;Institutional                                    59.8%                33.8%                  6.4%
      Model 2                      Fidelity Contrafund                                                         61.1%                24.4%                 14.5%
      Actively Managed
  3                                Deutsche CROCI International Fund                                           34.7%                31.1%                 34.3%
      Proprietary Fund
      Model 1                      Vanguard Total International Stock Index Fund;Inst                          25.2%                35.4%                 39.4%
      Model 2                      Dodge & Cox International Stock Fund                                        25.4%                44.3%                 30.3%
      Actively Managed
  4                                Deutsche Global Growth Fund                                                 25.9%                38.3%                 35.8%
      Proprietary Fund
      Model 1                      Vanguard Total World Stock Index Fund;Inst                                  27.7%                34.4%                 37.9%
      Model 2                      American Funds New Perspective Fund;R5                                      50.8%                27.0%                 22.2%
      Actively Managed
  6                                Deutsche Large Cap Value Fund                                               16.8%                27.8%                 55.3%
      Proprietary Fund
      Model 1                      Vanguard Value Index Fund;Institutional                                      6.4%                33.0%                 60.6%
      Model 2                      Dodge & Cox Stock Fund                                                      18.5%                43.2%                 38.3%
      Actively Managed
  7                                Deutsche Real Estate Securities Fund                                         8.4%                70.4%                 21.2%
      Proprietary Fund
      Model 1                      Vanguard REIT Index Fund;Institutional                                       7.5%                62.5%                 30.1%
      Model 2                      TIAA-CREF Real Estate Securities Fund;Inst                                   8.8%                63.7%                 27.5%
                                                                                          Fixed Income Asset Allocations by Style[2]

      Fund Type                    Fund Name                                                                  Cash              Corporate            Derivative    Government   Municipal   Securitized
      Actively Managed
  2                                Deutsche Core Fixed Income Fund                                              1.7%                42.1%                  6.1%        9.9%        3.9%        36.3%
      Proprietary Fund
      Model 1                      Vanguard Total Bond Market Index Fund;Inst                                   4.1%                20.3%                  0.0%       45.3%        0.7%        29.5%
      Model 2                      PIMCO Total Return Fund;Institutional                                       45.2%                11.2%                  0.0%       22.8%        1.6%        19.2%
      Actively Managed
  5                                Deutsche High Income Fund                                                    0.2%                94.6%                  3.9%        1.2%        0.1%         0.1%
      Proprietary Fund
      Model 1                      BofA Merrill Lynch US High Yield Master II Cons TR                              --                   --                    --          --          --           --
      Model 2                      Fidelity Capital & Income Fund                                              13.1%                84.9%                  0.0%        0.5%        0.0%         1.5%

Notes:
[1] Asset allocations reflect the latest available data in 2009. Allocations for each fund were scaled by Morningstar such that long investments sum to
100 percent.
[2] Fixed Income Asset allocations reflect latest available data in 2011 due to a lack of available Fixed Income data in 2009.
Sources:
Morningstar Direct; Pomerantz Report, PX250.




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